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                                    NO. 19-12984-CC



              IN THE UNITED STATES COURT OF APPEALS
                     FOR THE ELEVENTH CIRCUIT


EDWARD LEE GILLIAM,

      Plaintiff,

vs.                                              Case No: 2:16-cv-00255-JES-UAi\/l




U.S. DEPARTMENT OF VETERANS AFFAIRS,

      Defendant,




                   On Appeal of the United States District Court for the
                       Middle District of Florida Fort Myers Division


                              APPENDIX OF EDWARD GILLIAM

                                   PLAINTIFF-APPELLANT




                                                     Edward Lee Gilliam
                                                    Pro Se'for Appellant
                                                     Edward Lee Gilliam
                                                    322 SE      Street

                                                    Cape Coral, Florida 33990
                                                     (239) 223-0427
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                               DISTRICT DOCKET SHEET
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                                                                                       APPEAL,CLOSED, MAIL

                                              U.S. District Court
                                     Middle District of Florida (Ft. Myers)
                      CIVIL DOCKET FOR CASE #: 2:16-cv-00255-JES-UAM



   Gilliam v. U.S. Department of Veterans Affairs                  Date Filed: 04/04/2016
   Assigned to; Judge John E. Steele                               Date Terminated: 03/27/2019
   Referred to: Magistrate Judge Unassigned Magistrate             Jury Demand:Plaintiff
  Demand: $800,000                                                 Nature of Suit: 899 Other Statutes:
   Case in other court: 19-12984-F                                 Administrative Procedures Act/Review or
  Cause: 42:2000e Job Discrimination(Employment)                   Appeal of Agency Decision
                                                                   Jurisdiction: U.S. Government Defendant

  Plaintiff

  Edward Lee GUUam                                   represented by Edward Lee Gilliam
                                                                   322 S.E. 21st Street
                                                                   Cape Coral, FL 33990
                                                                   239/223-0427
                                                                   PROSE



  V.

  Defendant

  U.S. Department of Veterans Affairs                represented by Kyle Scott Cohen
                                                                    US Attorney's Office - FLM
                                                                   Room 3-137
                                                                   2110 First Street
                                                                   Ft Myers,FL 33901
                                                                   239/461-2200
                                                                   Email: Kyle.Cohen@usdoj.gov
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                   Sean Flynn
                                                                   US Attorney's OfHce - ELM
                                                                   Suite 3200
                                                                   400 N Tampa St
                                                                   Tampa,FL 33602-4798
                                                                   813-274-6000
                                                                   Email: sean.flynn2@usdoj.gov
                                                                   TERMINATED: 05/30/2018
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                   David P. Sullivan
                                                                   US Attomey's Office
                                                                   2110 First Street
                                                                   Room 3-137
                                                                   Fort Myers,F1 33901
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                                                                      Email; david.sullivan3@usdoj.gov
                                                                     ATTORNEY TO BE NOTICED

   Defendant

   David J. Shulkln                                   represented by David P. Sullivan
   Secretary                                                         (See above for address)
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED



   Date Filed     #    Docket Text

   04/04/2016     1    COMPLAINT against U.S. Department of Veterans Affairs with Jury Demand filed by
                       Edward Lee Gilliam. (Attaclunents:##1 Complaint #1 Exhibit 1,# 2 Exhibit 2,# 3
                       Exhibit 3,#4 Exhibit 5,#4 Exhibit 6,#^ Exhibit 7,# 7 Exhibit 8,# 8 Exhibit 9,# 9
                       Exhibit 10,#10 Civil Cover Sheet)(RMT).(NOTE: page 10 was omitted by the plaintiff
                      in the submitted complaint).(Entered: 04/05/2016)
   04/04/2016     2   MOTION to proceed in forma pauperis and Financial Affidavit pursuant to 28 U.S.C, 1915
                      by Edward Lee Gilliam.(RMT)Motions referred to Magistrate Judge Carol Mirando.
                      (Entered: 04/05/2016)
   04/04/2016         MOTION to Appoint Counsel and Affidavit in Support by Edward Lee Gilliam. Motions
                      referred to Magistrate Judge Carol Mirando.(RMT^.(Entered: 04/05/2016)
   04/15/2016     4   RELATED CASE ORDER AND NOTICE of designation under Local Rule 3.05 -
                      track 2. Notice of pendency of other actions due by 4/29/2016. Signed by All
                      Divisional Judges on 4/15/2016.(WRW)(Entered: 04/15/2016)
   04/15/2016     5   INTERESTED PERSONS ORDER Certificate ofinterested persons and corporate
                      disclosure statement due by 4/29/2016. Signed by All Divisional Judges on 4/15/2016.
                      (WRW)(Entered: 04/15/2016)
   04/18/2016     6   STANDING ORDER: Filing of documents that exceed twenty-five pages. Signed by
                      All Divisional Judges on 4/18/2016.(drn)(Entered: 04/18/20IQ
   04/29/2016     7   CERTIFICATE ofinterested persons and corporate disclosure statement re 5 Interested
                      persons order by Edward Lee Gilliam.(dm)(Entered: 04/29/2016)
   04/29/2016     8   NOTICE ofpendency ofrelated cases re 4 Related case order and track 2 notice per Local
                      Rule 1.04(d) by Edward Lee Gilliam. Related case(s): yes(dm)(Entered: 04/29/2016)
   11/08/2016     2 REPORT AND RECOMMENDATIONS re 2 PlaintifTs Motion to Proceed In Forma
                      Pauperis and Financial Affidavit pursuant to 28 U.S.C.§ 1915 and 3 Motion for
                      Appointment of Counsel and Affidavit in Support. Signed by Magistrate Judge Carol
                      IVUrando on 11/8/2016.(HJ)(Entered: 11/08/2016)
   11/21/2016    10 RESPONSE re 9 REPORT AND RECOMMENDATIONS re 2 MOTION for leave to
                      proceed in forma pauperis/affidavit ofindigency filed by Edward Lee Gilliam, 3 MOTION
                      to Appoint Cotmsel filed by Edward Lee Gilliam filed by Edward Lee Gilliam.(dm)
                      (Entered: 11/21/2016)
   12/12/2016    11   OPINION AND ORDER denying 3 Motion to appoint counsel; adopting 9 Report
                      and Recommendations; denying 2 Motion for leave to proceed in forma
                      pauperis/afiidavit of indigency and plaintiff shall pay the full filing fee of$400.00 to
                      the Clerk within 30 days of this Opinion and Order. Plaintiff shall file a Second
                      Amended Complaint within 45 days of this Opinion and order that incorporates all
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                      allegations and facts within a single document. Signed by Judge John E. Steele on
                      12/12/2016.(RKR)(Entered: 12/12/2016)
    niniiQie    12    RESPONSE re H Order on motion to appoint counsel, Order on Report and
                      Recommendations, Order on motion for leave to proceed in forma pauperis/affidavit of
                      indigency filed by Edward Lee Gilliam.(RMT)(Entered: 12/27/2016)
   12/29/2016   13    OPINION AND ORDER denying 12 Response construed as a motion for
                      reconsideration. The deadline to file an amended motion and affidavit to proceed as
                      an indigent based on a change in financial circumstances or pay the full filing fee is
                      extended through January 27,2017; and the deadline to file a Second Amended
                      Complaint is extended through February 10,2017. Signed by Judge John E. Steele on
                      12/29/2016.(RKR)(Entered: 12/29/2016)
   01/27/2017         FEES paid by Edward Lee Gilliam (Filing fee $400 receipt number FtM010485/Intake)
                     (dm)(Entered: 02/07/2017)
   01/31/2017   14    ORDER OF DISMISSAL dismissing case without prejudice for failure to pay the
                     requisite filing fee. The Clerk shall enter judgment accordingly, and close the file.
                     Signed by Judge John E. Steele on 1/31/2017.(RKR)Modified on 2/8/2017. Pleading
                     vacated per Order 16(dm).(Entered: 01/31/2017)
   01/31/2017   15   JUDGMENT(Signed by Deputy Clerk)(dm)Modified on 2/8/2017. Pleading vacated per
                     Order 16(dm).(Entered: 01/31/2017)
   02/07/2017   16   ORDER vacating 14 Order of Dismissal; vacating 15 Judgment. The Clerk shall
                     make a notation and reopen the case. Plaintiff shall file the Second Amended
                     Complaint by the extended deadline of February 24,2017. Signed by Judge John E.
                     Steele on 2/7/2017.(RKR)(Entered: 02/07/2017)
   02/27/2017   17   SECOND AMENDED COMPLAINT against U.S. Depaitment of Veterans Affairs with
                     Jury Demand filed by Edward Lee Gilliam. Related document:1 Complaint filed by
                     Edward Lee Gilliam.(Attachments:#1 Exhibit Documentation of Case Events (Part 1),#
                     2 Exhibit Documentation of Case Events (Part 2),# 3 Exhibit Examination of Witnesses
                     (Part 1),# 4 Exhibit Examination of Witnesses (Part 2),# 5 Exhibit Psychological
                     Evaluation), #(6) Mailing Envelope)(dm).(NOTE: Drop Box Stamped on 2/24/17 -
                     FILED Stamp on 2/27/17 and rec'd in U.S. Mail by Judge John E. Steele)(Entered:
                     03/03/2017) .

   04/19/2017   18   ORDER to show cause why the case should not be dismissed for failure to prosecute
                     as to Edward Lee Gilliam. Or,plaintiff shail obtain summonses and execute service of
                     process within 30 days of this Order.Show Cause Response due by 5/3/2017. Sigued
                     by Judge John E.Steele on 4/19/2017.(RKR)(Entered: 04/19/2017)
  05/02/2017    19 LETTER MOTION for Extension of Time to File Response/Reply as to 18 Order to show
                     cause by Edward Lee Gilliam.(MLS)Motions referred to Magistrate Judge Carol
                     Mirando.(Entered: 05/02/2017)
  05/02/2017    20   ENDORSED ORDER granting 19 Plaintiffs Motion for Eixtension of Time.For good
                     cause shown.Plaintiff shall have up to and including June 16,2017 to obtain
                     summonses and execute service of process. The faiiure to timely execute service of
                     process will result in a dismissal without prejudice and without further notice. The
                     Cierk of Court is directed to mail a copy of this Order and the Order to Show Cause
                     (Doc.18)to Plaintiff. Signed by Magistrate Judge Caroi Mirando on 5/2/2017.(HJ)
                     (Entered: 05/02/2017)
  05/12/2017    21   MOTION for default as to US Department of Veteran's Affairs failure to respond re 17
                     SECOND Amended Complaint by Edward Lee Gilliam.(MLS)Motions referred to
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                      Magistrate Judge Carol Mirando.(Entered: 05/12/2017)
   05/15/2017   22    ORDER denying without prejudice 21 PlaintifPs Motion for Default. Signed by
                      Magistrate Judge Carol Mirando on 5/15/2017.(HJ)(Entered: 05/15/2017)
   05/30/2017   23    SUMMONS issued as to U.S. Department of Veterans Affairs.(MLS)(Entered:
                      05/30/2017)
   06/15/2017   24    NOTICE ofCertification of Service Clarification and Confirmation by Edward Lee
                      Gilliam re 20 Order on Motion for Extension ofTime to File Response/Reply, 17
                      Amended Complaint(Attachments:#1 Exhibit 1)(MLS)(Entered: 06/15/2017)
   07/31/2017   25    MOTION to dismiss for failure to state a claim, MOTION to dismiss for lack of
                     jurisdiction, MOTION for More Definite Statement by U.S. Department of Veterans
                      Affairs.(Flynn, Sean)(Entered: 07/31/2017)
   08/07/2017   26    MOTION for suimnary judgment by Edward Lee Gilliam.(MLS)(Entered: 08/07/2017)
   08/07/2017   27    SUMMARY JUDGMENT NOTICE re 26 MOTION for summary judgment.(MLS)
                     (Entered: 08/07/2017)
   08/21/2017   28   RESPONSE in Opposition re 26 MOTION for summaryjudgment, AND CROSS-
                     MOTION FOR SUMMARYJUDGMENT filed by U.S. Department of Veterans Affairs.
                     (Attachments:#i Exhibit A,# 2 Exhibit B,# 3 Exhibit C,#4 Exhibit D,# 5 Exhibit E,#
                     6 Exhibit F,# 7 Exhibit G,# 8 Exhibit H,# 9 Exhibit I,#10 Exhibit J,#11 Exhibit K.# 12
                     Exhibit L,# 13. Exhibit M,#14 Exhibit N,#1^ Exhibit 0,#16 Exhibit P,#17 Exhibit Q,
                     #18 Exhibit R,#19 Exhibit S,# 20 Exhibit T,# 21 Exhibit U,# 22 Exhibit V,# 23 Exhibit
                     W,# 24 Exhibit X,# 25 Exhibit Y,# 26 Exhibit Z,# 27 Exhibit AA,# 28 Exhibit BB,# 29
                     Exhibit CC,# 30 Exhibit DD,# 31 Exhibit EE,# 32 Exhibit FF,# 33 Exhibit GG)(Flynn,
                     Sean) Modified on 10/30/2017 as to event type per law clerk/kp.(MLS).(Entered:
                     08/21/2017)
   08/22/2017   29   MOTION for miscellaneous relief, specifically to add "Wimess Examination in Sequence"
                     for evidence and judicial assistance as Exhibit 15 by Edward Lee Gilliam.(Attachments:#
                     1 Witness Examination in Sequence)(SPB)(Entered: 08/23/2017)
   09/19/2017   30   ORDER directing responses to 25, 29 on or before October 3,2017. If no responses
                     are filed, the Court will rule on the motions without further notice and without the
                     benefit of a response. Signed by Judge John E. Steele on 9/19/2017.(KP)(Entered:
                     09/19/2017)
   09/19/2017   31   RESPONSE in Opposition re 29 MOTION for miscellaneous relief, specifically to add
                     "Witness Examination in Sequence" for evidence and judicial assistance as Exhibit 15 filed
                     by U.S. Department of Veterans Affairs.(Attachments:#1 Exhibit A)(Flynn, Sean)
                     (Entered: 09/19/2017)
   10/02/2017   32   RESPONSE in Opposition re 25 MOTION to dismiss for failure to state a claim MOTION
                     to dismiss for lack ofjurisdiction MOTION for More Definite Statement filed by Edward
                     Lee Gilliam.(MLS)(Entered: 10/02/2017)
   11/06/2017   33   ORDER granting 29 Motion to add witness examination in sequence for evidence,
                     construed as a motion to add it as an exhibit to plaintiffs 26 Motion for summary
                     judgment, and otherwise denying. The Clerk shall issue a Summary Judgment Notice
                     and mail a copy to plaintiff. Plaintiff shall respond to the cross-motion within 14 days
                     of its filing. Signed by Judge John E.Steele on 11/6/2017.(RKR)(Entered: 11/06/2017)
   11/06/2017   34   NOTICE OF SUMMARY JUDGMENT re 33 Order on Motion for Miscellaneous Relief
                     (MLS)(Entered: 11/06/2017)
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   11/17/2017   35    RESPONSE to Cross-Motion for Summary Judgment as so ordered by the Court re 28
                      MOTION for summary judgment filed by Edward Lee GilUam.(MLS)(Entered:
                      11/17/2017)
   11/21/2017   36   NOTICE by U.S. Department of Veterans Affairs re 28 MOTION for summary judgment
                     (Filing Exhibt HH)(Attachments:#1 Exhibit HH)(Flynn, Sean)(Entered: 11/21/2017)
   12/01/2017   37   RESPONSE AND PROTEST to the defendant's notice offiling exhibit HH now re 36
                     Notice(Other)filed by Edward Lee Gilliam.(MLS)(Entered: 12/01/2017)
   12/12/2017   38   OPINION AND ORDER granting 25 Defendant's Motion to Dismiss PlaintifTs
                     Amended Complaint. Plaintiff may file a Second Amended Complaint that fixes the
                     pleading deficiencies discussed in this Opinion on or before Wednesday,December
                     27,2017. Claims barred by sovereign immunity should not be reasserted. The Court
                     denies without prejudice as moot 26 Plaintiffs Motion for Summary Judgment; 28
                     Defendant's Motion for Summary Judgment. Signed by Judge John E. Steele on
                     12/12/2017.(KP)(Entered: 12/12/2017)
   12/20/2017   39   MOTION for miscellaneous relief, specifically legal clairity and a request for an extension
                     oftime for second amended complaint by Edward Lee Gilliam.(MLS)(Entered:
                     12/20/2017)
   12/21/2017   40   ORDER granting in part and denying in part^ Plaintiffs Motion for Clarity and
                     Extension of Time to File Second Amended Complaint.Plaintiffs "Motion for
                     Clarity" is denied. Plaintiffs Motion for Extension of Time to File Second Amended
                     Complaint is granted. Plaintiff has until January 10,2018 to file a Second Amended
                     Complaint,subject to the terms of the Court's December 12,2017 Order.Signed by
                     Judge John E. Steele on 12/21/2017.(KP)(Entered: 12/21/2017)
   01/10/2018   41 SECOND AMENDED COMPLAINT against U.S. Department of Veterans Affairs with
                     Jury Demand, filed by Edward Lee GiIliam.(MLS)(Entered: 01/10/2018)
   01/16/2018   42 ORDER to show cause why the case should not be dismissed for failure to prosecute
                     as to Edward Lee Gilliam. Alternatively, directing the filing of a Case Management
                     Report with jointly agreed upon dates. See Order for details. Show Cause Response
                     due by 1/30/2018. Signed by Judge John E. Steele on 1/16/2018.(RKR)(Entered:
                     01/16/2018)
   01/23/2018   43   Consent MOTION for Extension of Time to File Answer re 41 Amended Complaint by
                     U.S. Department of Veterans Affairs.(Flynn, Sean) Motions referred to Magistrate Judge
                     Carol Mirando.(Entered: 01/23/2018)
   01/23/2018   44   ENDORSED ORDER granting 43 Defendant's Consent Motion for Extension of
                     Time to Answer or Otherwise Respond to Plaintiffs Second Amended Complaint.
                     For good cause shown and because the motiou is unopposed,Defendant shall have up
                     to and including February 2,2018 to respond to the Second Amended Complaint.
                     Signed by Magistrate Judge Carol Mirando on 1/23/2018.(HJ)(Entered: 01/23/2018)
   01/29/2018   45   NOTICE of pendency ofrelated cases re 4 Related case order and track 2 notice per Local
                     Rule 1.04(d) by U.S. Department of Veterans Affairs. Related case(s): no(Flynn, Sean)
                     (Entered: 01/29/2018)
   01/29/2018   46   CERTIFICATE ofinterested persons and corporate disclosure statement re 5 Interested
                     persons order by U.S. Department of Veterans Affairs.(Flynn, Sean)(Entered:
                     01/29/2018)

   01/29/2018   42 CASE MANAGEMENT REPORT filed by Edward Lee Gilliam.(MLS)(Entered:
                     01/29/2018)
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   01/29/2018     48    CERTIFICATE ofinterested persons and corporate disclosure statement re 4 Related case
                        order and track 2 notice by Edward Lee Gilliam.(MLS)(Entered: 01/29/2018)
   02/01/2018     49    MOTION to Dismiss Second Amended Complaint or, in the Alternative, Motion for a
                        more definite Statement and Memorandum ofLaw by U.S. Department of Veterans
                        Affairs.(Sullivan, David)(Entered: 02/01/2018)
   02/22/2018     50    CASE MANAGEMENT AND SCHEDULING ORDER: Discovery due by 7/31/2018,
                        Dispositive motions due by 8/31/2018,Final Pretrial Conference set for 1/22/2019 at
                        09:00 AM in Ft. Myers Courtroom 6 A before Judge John E.Steele, Jury Trial set for
                        trial term beginning 2/4/2019 before Judge John E.Steele, Conduct mediation
                        hearing by 8/16/2018. Lead counsel to coordinate dates. Signed by Judge John E.
                        Steele on 2/22/2018.(DH)(Entered: 02/22/2018)
   02/23/2018 .   51    ORDER directing Edward Lee Gilliam to respond to 49 MOTION to Dismiss Second
                        Amended Complaint or,in the Alternative, Motion for a more definite Statement and
                        Memorandum of Law.Responses due by 3/9/2018. Signed by Judge John E. Steele on
                        2/23/2018.(RKR)(Entered: 02/23/2018)
   02/23/2018     52    NOTICE ofInitial Disclosures by Edward Lee Gilliam(MLS)(Entered: 02/23/2018)
   03/07/2018     53    Plaintiffs RESPONSE to Defendant's Absurd Motion re 49 MOTION to Dismiss Second
                        Amended Complaint or, in the Alternative, Motion for a more definite Statement and
                        Memorandum ofLaw filed by Edward Lee Gilliam.(MLS)(Entered: 03/07/2018)
   03/26/2018     M    Plaintiffs NOTICE ofFirst Set of Combined Requests for Interrogatories and Request for
                       Production by Edward Lee Gilliam(MLS)(Entered: 03/26/2018)
   05/15/2018     55   NOTICE offiling Interogatories ofIndividuals with Discoverable Information by Edward
                       Lee Gilliam(MLS)(Entered: 05/15/2018)
   05/30/2018     56   Notice ofsubstitution of AUSA. Kyle Scott Cohen substituting for Sean P. Flynn.(Cohen,
                       Kyle)(Entered: 05/30/2018)
   05/30/2018     57   NOTICE of Appearance by David P. Sullivan on behalf of U.S. Department of Veterans
                       Affairs(Sullivan, David)(Entered: 05/30/2018)
   06/22/2018     58   MOTION to Compel defendant to produce discoverable information by Edward Lee
                       Gilliam.(MLS)Motions referred to Magistrate Judge Carol Mirando.(Entered:
                       06/22/2018)

   07/06/2018     59   RESPONSE in Opposition re 58 MOTION to Compel defendant to produce discoverable
                       information filed by U.S. Department of Veterans Affairs.(Attachments:#1 Exhibit 1,# 2
                       Exhibit 2)(Sullivan, David)(Entered: 07/06/2018)
   07/18/2018          NOTICE of mediation conference/hearing to be held on August 1, 2018 at 9:00am before
                       James Nuhnan.(Sullivan, David)(Entered: 07/18/2018)
   07/20/2018          AMENDED/MODIFIED MOTION 58 MOTION to Compel defendant to produce
                       discoverable information by Edward Lee Gilliam.(MLS)(Entered: 07/20/2018)
   08/01/2018          MEDIATION report Hearing held on 08-01-2018. Hearing outcome: Impasse..(Nuhnan,
                       James)(Entered: 08/01/2018)
   08/03/2018          OPINION and ORDER granting defendant's 49 motion to dismiss. See Opinion and
                       Order for detaUs. Signed by Judge John E.Steele on 8/3/2018.(CMG)(Entered:
                       08/03/2018)
   08/09/2018     M    MOTION to extend time to complete Third Amended Complaint by Edward Lee Gilliam.
                       (MLS)Motions referred to Magistrate Judge Carol Mirando.(Entered: 08/13/2018)




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   08/13/2018         ORDER granting M PlaintiiTs Motion for Extended Time to Complete Third
                      Amended Complaint. Plaintiff shall have up to and including August 24,2018 to file a
                      Third Amended Complaint. Signed by Magistrate Judge Carol Mirando on
                      8/13/2018.(APH)(Entered; 08/13/2018)
   08/24/2018         THIRD AMENDED COMPLAINT against David J. Shulkin, U.S. Department of Veterans
                      Affairs with Jury Demand filed by Edward Lee Gilliam. Related document; 41. Amended
                      Complaint filed by Edward Lee Gilliam.(MLS)(Entered; 08/27/2018)
   08/31/2018   67    MOTION to Dismiss Third Amended Complaint by David J. Shulkin, U.S. Department of
                      Veterans Affairs.(Sullivan, David)(Entered; 08/31/2018)
   08/31/2018        Joint MOTION to stay Case Management Order by David J. Shulkin, U.S. Department of
                     Veterans Affairs.(Sullivan, David)(Entered; 08/31/2018)
   09/07/2018   69   ORDER granting M Joint Motion to Stay the Case Management Order and
                     Memorandum ofLaw.The Clerk is directed to add a stay flag to the docket. The
                     remaining deadlines in the Case Management and Scheduling Order(Doc.50)are
                     stayed pending judicial resolution of the motion to dismiss (Doc.67)or until further
                     Order of the Court Signed by Magistrate Judge Carol Mirando on 9/7/2018.(APH)
                     (Entered; 09/07/2018)
   09/10/2018        Case Stayed per 69 Order(MLS)(Entered; 09/10/2018)
   09/14/2018   70   MOTION for Extension ofTime to File Response/Reply as to 61 MOTION to Dismiss
                     Third Amended Complaint by Edward Lee Gilliam.(MLS)Motions referred to Magistrate
                     Judge Carol Mirando.(Entered; 09/17/2018)
   09/14/2018   21   CERTIFICATE ofservice by Edward Lee Gilliam re 70 MOTION for Extension of Time
                     to File Response/Reply as to £7 MOTION to Dismiss Third Amended Complaint.(MLS)
                     (Entered; 09/17/2018)
   09/17/2018   12   ORDER granting 70 Plaintiffs Motion for Extension of Time.Plaintiff shall have up
                     to and including September 28,2018 to file a response to Defendants' Motion to
                     Dismiss the Third Amended Complaint. Signed by Magistrate Judge Carol Mirando
                     on 9/17/2018.(APH)(Entered; 09/17/2018)
   09/28/2018   73   RESPONSE in Opposition re 61 MOTION to Dismiss Third Amended Complaint filed by
                     Edward Lee Gilliam.(laf)(Entered; 10/02/2018)
   01/29/2019   74   Case Reassigned to Unassigned Magistrate. New case number; 2;16-cv-255-FtM-29UAM.
                     Magistrate Judge Carol Mirando no longer assigned to the case. Motion(s)REFERRED;
                     61 MOTION to Amend/Correct 58 MOTION to Compel defendant to produce
                     discoverable information, 58 MOTION to Compel defendant to produce discoverable
                     information. Motion(s)referred to Unassigned Magistrate Judge.(LMF)(Entered;
                     01/29/2019)
   03/27/2019   75   OPINION and ORDER granting defendant's 6L motion to dismiss. The Clerk is
                     directed to enter judgment accordingly, terminate all pending motions and deadlines
                     as moot, and close the file. See Opinion and Order for details. Signed by Judge John
                     E.Steele on 3/27/2019.(CMC)(Entered; 03/27/2019)
   03/27/2019   76   JUDGMENT(Signed by Deputy Clerk)(MLS)(Entered; 03/27/2019)
  03/28/2019    77   MOTION for Taxation of Costs by U.S. Department of Veterans Affairs.(Attachments;#i
                     Exhibit A - Invoices)(Sullivan, David)(Entered; 03/28/2019)
  04/01/2019    78   MOTION for miscellaneous relief, specifically for reason why certain parts of the
                     Plaintiffs evidence ignored by Edward Lee Gilliam.(MLS)(Entered; 04/01/2019)




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    04/01/2019   79    CERTIFICATE ofservice by Edward Lee Gilliam re 78 MOTION for miscellaneous
                      relief, specifically for reason why certain parts ofthe Plaintiffs evidence ignored(by
                      Edward Lee Gilliam).(MLS)(Entered; 04/01/2019)
    04/16/2019   M    ORDER denying 72 Motion for Taxation of Costs. Signed by Judge John E. Steele on
                      4/16/2019.(RKR)(Entered: 04/16/2019)
    04/18/2019        OPINION and ORDER denying plaintilTs 78 Motion for Reason why Certain Parts
                      ofthe Plaintiffs Evidence Ignored. See Opinion and Order for details. Signed by
                      Judge John E.Steele on 4/18/2019.(CMG)(Entered: 04/18/2019)
    04/25/2019   SI   Plaintiffs MOTION for miscellaneous relief, specifically for the record and court
                      reconsideration by Edward Lee Gilliam.(MLS)(Entered: 04/25/2019)
    05/06/2019        ORDER denying plaintiff's 82 Motion for the Record and Court Reconsideration. See
                      Order for details. Signed by Judge John E.Steele on 5/6/2019.(CMG)(Entered:
                      05/06/2019)
   05/15/2019    84   MOTION for miscellaneous relief, specifically for need to correct clear error or prevent
                      manifest injustice by Edward Lee Gilliam.(MLS)(Entered: 05/16/2019)
   06/13/2019    85   ORDER denying plaintiff's M Motion for Need to Correct Clear Error or Prevent
                      Manifest Injustice. See Order for details. Signed by Judge John E. Steele on
                      6/13/2019.(CMG)(Entered: 06/13/2019)
   08/07/2019    M    NOTICE OF APPEAL as to 85, Order on Motion for Miscellaneous Relief by Edward Lee
                      Gilliam. Filing fee not paid.(MLS)(Entered: 08/07/2019)
   08/07/2019    87   TRANSMITTAL ofinitial appeal package to USCA consisting of copies ofnotice of
                      appeal, docket sheet, order/judgment being appealed, and motion, if applicable to USCA re
                      86 Notice ofappeal.(Attachments:#i Notice of Appeal,# 2 Docket Sheet,# 3 Order DE
                      85)(MLS)(Entered: 08/07/2019)
   08/07/2019         USCA appeal fees received $ 505 receipt number FtM013957 re M Notice of appeal filed
                      by Edward Lee Gilliam(MLS)(Entered: 08/08/2019)



                                            PACER Service Center
                                               Transaction Receipt
                                                  10/08/2019 11:17:06

                          PACER                                 Client
                                      gilliamedward:5268916:0
                          Login:                                Code:

                                                                Search      2:16-cv-00255-
                          Description: Docket Report
                                                                Criteria:   JES-UAM

                          Billable
                                      8                         Cost:       0.80
                          Pages:




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                                       DOCKET #66




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                                UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA DIVISION



     Edward Lee Gilliam,
       Plaintiff


                                                V.        Case No. 2:16-cv-255-FtM-99cm

     U.S. Department of Veterans Affairs,
     David Shulkin, Secretary
       Defendant(s)

                                                          JURY TRIAL DEMANDED
                                                                     yes




           EMPLOYMENT DISCRIMINATION THIRD AMENDED COMPLAINT



1.     This employment lawsuit is based on:

       Title VU of the Civil Rights Act of 1964, as amended,42 U.S.C. § 2000e, et seq., for
       employment discrimination on the basis of race, color, religion, gender, or national origin.

       NOTE:In order to bring suit infederal district court under Title VII, you mustfirst obtain a
       right-to-sue letterfrom the Equal Employment Opportunity Commission.

       Other (Describe):       Reversal of Agency's Decision of Removal
                               High Crimes and other violations-(Sovereign Immunity Protection)

                                               PARTIES



2.     Plaintiffs name:          Edward Lee Gilliam


       Plaintiffs address:       322 S.E. 21st Street

                                 Cape Coral, Florida 33990

       Telephone number:         (239)223-0427




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3.   Defendant's info:          U.S. Department of Veterans Affairs,
                                Secretary of Veterans Affairs
                                David Shulkin

     Defendant's address:       810 Vermont Avenue, NW
                                Washington,DC 20420
     Telephone number:         (269)966-5600

4.   If you are claiming that the discriminatory conduct occurred at a different location, please
     state the address where the discriminatory conduct occurred:

                               3033 Winkler Avenue

                                Fort Myers, Florida 33916
                               Lee County Florida

5.   When did the discrimination occur? November 25, 2011 through October 27, 2012


                              ADMINISTRATIVE PROCEDURES



6.   Did you file a charge of discrimination against the defendant(s) with the Florida Commission

     on Human Rights? No


7.   Did you file a charge of discrimination against the defendant(s) with the Equal Employment

     Opportunity Commission or other federal agency? Yes


     Date Filed: informal request made on June 15, 2012,formal complaint on December 12,

     2012 and review of final order of MSPB board on March 9, 2015.


8.   Have you received a Notice of Right-to-Sue Letter? Yes

     If yes, please attach a copy of the letter to this complaint.(Note: On Record)




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Senior United States District Judge John E. Steele thank you, your Honor for allowing Mr-

Edward Lee Gilliam to submit a Third Amended Complaint; your patience and iindersfanHinp in

this case has been observed and is recognized as remarkable,salute.



1.) Here now is a brief origin and synopsis of the Plaintiffs Third Amended Complaint as an

   introduction. It is a fact that crafting an investigation to meet a predetermined outcome is corruption

   and a crime. The Veterans Affairs has paid out one(1) million dollars in reference to Chief Robert

   Shogren engineering a Pattern, Practice and Culture of Retaliation against staff members who

   contact the EEOC against him. Chief Shogren is responsible for engineering a Hostile Work

   Environment for Officer Ed Gilliam when he took outside revengeful allegations from a vindictive

   husband and hid the defamatory allegation from the accused victim Officer Edward Lee Gilliam for

   ten (10) months, all the while informing the supervisory staff of the incendiary allegations of

   adultery and sex on VA property.

2.) It is a fact according to the VA Code of Conduct that VA supervisors are to promptly counsel any

   employee upon knowledge of any misconduct. The initial police investigation of two staff

   members allegedly having sex on VA property and only one of the two are targeted for removal,

   while the other one is given only three days suspension is a text book example of a police

   investigative tort in discrimination.

3.) Director Susanna Klinker was aware of Officer Ed Gilliam disparate action of contacting the EEOC

   on June 15, 2012. As she was aware of at the same time Chief Shogren was being investigated for

   engineering a Pattern, Practice and Culture of Retaliation to any staff members who contacted the

   EEOC against him in reference to nine(9)employees at Bay Pines.

4.) It is a fact Director Klinker committed an EEOC Non-Adherence to her Religious beliefs violation

   specifically her emphatic emphasis upon the sin of adultery when she distinctly pointed out at the


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         Verbal Response Hearing of Mr. Gilliam in reference to stating to him directly that he was being

         inconsistent by referring to Jeff Marsh in his Written Response as the estranged ex-husband when in

         actuality at the time he stated the allegations to Staff Member Gina Berchtold he was her

         HUSBAND!


     5.) In addition it is a fact Sgt. Brad Slam (one of her supervisors) stated to the effect that: he was no

         longer interested in having theological conversation with Ed Gilliam because he was in sin with Liz

         Marsh and that is also an EEOC Non-Adherence to a Religious Belief Violation. In correlation later

         on it is a fact Lieutenant Pete Quimby and Sergeant Brad Slam lied and hid government keys from

         Officer Ed Gilliam and caused him to miss a scheduled EEOC meeting with Supervisor Joan Harris.

     6.) It is a fact by arbitrarily honoring Chief Shogren's removal request that was reasonably motivated

         and engineered by his personal malice and responding with his typical Pattern, Practice and Culture

         of Retaliation against any employee reporting him to the EEOC for help coupled with Director

         Klinker's EEOC Non-Adherence to her personal Religious Beliefs Violation Ms. Klinker therefore

        simply echoed Chief Shogren's unjust character assassination of a low level subordinate, based on

         partial truths: faked, exaggerated, perjured and lies distorted and magnified for impact or simply put

        it was a bureaucratic decision reflecting unity of effort amongst the Veteran Affairs Administrative

         Hierarchy; but more accurately expressing personal passions for offences that happen to violate

        EEOC laws.


     7.) Without further ado let's consider the violations here and now!



     A.Plaintiff's Wrongful Termination- is based on a "but for" Hostile Work
        Environment and Harassment Claim.


     8.) Veterans Affairs Police Chief Robert Shogren engineered as he has been known to have done before on

        employee's (Case: 8:10-cv-01482-MSS-TBM) a Pattern, Practice and Culture of Retaliation before

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    Officer Gilliam contacted the EEOC followed by an even more intense and Ratcheted Up- Pattern,

    Practice and Culture of Retaliation after the EEOC contact on June 15, 2012. This is a clear and

    reasonable motive; as the cause and effect in this entire case. The whole case developed based on this

   corresponding truth and reason.

9.) The Plaintiffs Case is a textbook example of a set up for Law Enforcement Harassment or tort which

   graduallv develops from November 25. 2011 through October 27. 2012 escalating because of an


    EEOC contact for help on June 15. 2012 and is a "But-For" causation example. The secret and


    menacing placement of the figurative "Kick Me Sign"(guilty of adultery and sex on VA property) on

   the Plaintiffs back is prima facie' evidence and would reasonably provoke future harassment; and

   clearly shaped the entire plot of the Plaintiffs Case as taking place in a Hostile Work Environment. In

   addition the acknowledgment of the husband requesting the VA Police to take leniency in disciplinarv


   actions for his wife: do to she was the mother(female) of his child screams of a Police Investigative


   Tort revealing discrimination.


10.) According to the EEOC-"Harassment becomes unlawful where 1) enduring the offensive conduct

    becomes a condition of continued employment, or 2)the conduct is severe or pervasive enough to

    create a work environment that a reasonable person would consider intimidating, hostile, or abusive."

   The Plaintiffs entire 2012 documentation of case events and harassing irregularities in this case


   demonstrates that verv fact(please see Documentation of Case Events). The mental effect or men's


    rea' that was produced by alerting the supervisory staff against the unknowing Plaintiff, by conveying

   to the supervisory staff the salacious allegations against the Plaintiff committing adultery and having

   sex on VA property are a self-evident truths of cause and effect for Harassment and present the

    elements for a Hostile Work Environment based on reason alone. This prejudice Hostile Work


    Environment would continue on to produce Harassment against the Plaintiff in the months to come:


    and that is exactly what happened ending in a final result, of removal: the final expression of a



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    corresponding truth to clearly behold. It Is the sincere hope that the Federal Court would please allow

    a lurv to decide the truth of this case!


11.)The motive was plainly engineered by a prejudiced naive and Incompetent VA Police Chief after he did

    not contact an employee promptiv (as the VA Code of Conduct requiresfor a supervisor to do) In

    reference to an outside source on November 25, 2011 with obvious malicious Intent stating false

    allegations against an employee's reputation provoking and producing extreme harassment by the

    supervisory staff against said employee.

12.)Note: Officer Gllllam Is not made aware of the stated allegations and whv all the hostllltv coming

    against him until his proposed removal on September 25. 2012 ten (10) months later. With all due


    respect could the Court please address this Issue?


13.)The Inappropriate conduct In the workplace (sex on VA propertv) was the catalvst for the figurative

   "Kick Me" Sign to be placed secretlvelv on the Plaintiffs back: which In turn lead to the other three


    charges that the Plaintiff reasonablv believes are based on preludlce from the supervlsorv staff In


    order to add a paper trail against the Plaintiff: and find favor with the VA Police Department.


14.)This is an evident form of Law enforcement harassment or tort against the Piaintiff but not for the

    other aiieged perpetrator Liz Marsh; who was aiieged to be invoived in the initiai circumstances or

    iaw enforcement investigation of the vioiation 38 CFR 1.218(b)(44)Any uniawfui sexuai activity.

15.) So this case is not a standard EEOC discrimination case: because this case invoives a Veterans Affairs

    Police Department conducting a federai police investiaation and showing favoritism for one of the


    aiieged perpetrators. Note: The Plaintiff Is not Intentionally disrespecting the Judge's Order to not

   further discuss crimes protected by sovereign Immunity here It Is just the Plaintiffs sincere and

    primary concern that while upon researching the antiquated sovereign Immunity clause he has

    discovered the Federal Tort Claims Act(FTCA) U.S.C. 1346 2 However, the FTCA does not exempt

    Intentional torts committed by "Investigative or law enforcement officers, thus allowing


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    individuals aggrieved by the actions of law enforcement officers to have their day in court

    (Millbrook v. United States). The Plaintiff reasonably believes he fits into this context. The

    Federal Tort Claims Act("FTCA") is a 1946 federal statute that permits private parties to sue


    the United States in a federal court for most torts committed bv persons acting on behalf of

    the United States. 33. Immunity of Government Officers Sued as Individuals for Official Acts.

    U.S.C. 2679(b)(1) However,the immunity conferred by FELTRCA does not extend or apply to

    suits against federal employees for violation of the Constitution or federal statutes. Thus,

    government officials sued for constitutional torts continue to be protected only by qualified

    immunity. The Plaintiff is countering the Defendants claim of sovereign immunitv and

    respectfullv makes the claim that FTCA and FELTRCA clearlv supersedes it in this case that has

    been continuouslv active since December 24. 2012 for the Federal Court to note.


16.) The Plaintiff reasonablv believes that his Fourth Amendment to the U.S. Constitution has

  been violated and has been used as the foundation for the Veterans Affairs to build and plot


  for their insidious Wrongful Termination case against him.


17.) Mr. Marsh committed an invasion of privacy (breaking and entering) and the Federal

  Government violated Mr. Gilliam's Constitutional Fourth Amendment Rights when the

  Veterans Affairs (Detective Tim Torain and newly selected Captain Dennis Moran)

  spontaneously contacted Mr. Marsh on March 4, 2012(Note: Mr. Marsh and Officer Gilliam

  were friends at that time) and coerced and cajoled Mr. Marsh to come to the Veterans Affairs

  and give a sworn statement along with the tainted text messages that Mr. Marsh had

  surreptitiously obtained by breaking and entering into his now ex-wife's iPhone.




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18.) This act clearly demonstrates the government taking Fruit from the Poisonous Tree and

  violating Mr. Edward Lee Giliiam's Constitutional Forth Amendment Rights as a Hostile act


  deliberateiv and maliciouslv made against him.




B.Plaintiff's Wrongful Termination- is based on a "but for" Disparate
  Treatment Claim Based on Race, National Origin, and Gender


19.) This Disparate Treatment and therefore Discrimination is in reference to a negligent police
    investigation-guilty of a tortious act against the Plaintiff by the Veterans Affairs Police Department.

    The Discrimination is abundant but we are to believe from an administrative perspective that

    because Ms. Marsh works for a different department under a different supervisor. We are to accept

    the rigid understanding and that being focusing on the work station of the two and not the most

    important factor the disciplinary context and the nature of the offenses committed which


    reasonably supersedes the other: in addition she and the Plaintiff both work for the same overall

    supervisor Director Klinker and this is a police investigative tort.

20.)   Hypothetically: If two staff members one a Caucasian and the other a Black were working at the

    Veterans Affairs and they shared a pint of whisky in an office together and each drank a half pint

    and where caught doing so, and only the Black was terminated for being under the influence of

    alcohol and the Caucasian was given a three days suspension, that would clearly be law

    enforcement discrimination. But we are to believe because they worked at different departments

    within the Veteran Affairs this is not discrimination because they're not identieal comparators at the

    work station. This understanding is administrative, inflexible and two rigid and therefore absurd in

    reasoning. The law was made for man, not man for the law. The reasonable focus should be placed

    on the circumstances in the violation and not what department the two work at in the overall


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   department that being identical the Veterans Affairs. This is a negligent police investigation case.

21.)   The Plaintiff claims this to be the case here: "The quantity and quality of the comparator's

   misconduct must be nearly identical" to that of the plaintiff. Brown v. Jacobs Engineering, Inc.,

   401Fed. Appx. 478,480(11"' Cir. 2010)(internal quotations and citation omitted)."The Most

   important factors in the disciplinary context are the nature of the offenses committed and the

   nature of the punishment imposed." Maniccia v. Brown, 171 F.3d 1364, 1368 (11'" Cir.

   1999)(quotation omitted).

22.)   Now these statements present a massive amount of common sense to the Court for its

   consideration for justice, and the Plaintiff with all due respect requests a response. The

   Plaintiff claims this to he a reasonable and rightful understanding.

23.)   So both a male and female are accused of having sex on VA property and both of them are not

   told about it for ten months later while the supervisory staff is advised (self-evident truth) to take

   action against them when ever they see the two of them together; and so throughout the year of 2012

   three frivolous additional irregular and highly suspicious charges are piled on against the male;

   resulting in his removal and the female only receiving a three day suspension- is not susnect: and in

   lavman's terms a redress-able harm against the Plaintiff for which the VA is liable?

24.)   The Plaintiff reasonably believes there is a preponderance of implications here, and to think

   otherwise is intellectually dishonest. This is not legal conclusions without adequate factual support

   and should be construed in the light most favorable to the Plaintiff as truth. The Plaintiff makes the

   reasonable claim that it is facially plausible; because it is what actually happened to Officer Gilliam

   in the year of 2012. This is the force of logic here in reasoning and it presents the clear cause and

   effect of a corresponding truth and is therefore the proof of the evidence at hand.

25.)   To think that what needs to be plausible on its face is perhaps the Plaintiff overheard the supervisory



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    staff state hypothetically: "Hey listen up everybody we are going to build a case against the adulterer Officer

    Gilliam and not MSA Liz Marsh because she is a female Hispanic mother; and we all know the heat we will

    get if we attempt to remove her, besides I am already being investigated for a pattern, practice and culture

    of retaliation. Also remember the husband who used to work at WINK News asked us to be lenient on her

    and if we do he will give us evidence against Officer Gilliam for removal. And if this ever goes to court we

    can also separate the two by adding three more additional bogus shot gun charges against Officer Gilliam.

    And now I know to wait at least four months after an employee contacts the EEOC against me so we can

    show a disconnect of reprisal when I have him removed."

26.)    This is a way of reasoning that's unbelievable and way too rigid and inflexible of a realistic expectation

    by the Court and makes it nearly impossible to reach, but with all due respect this seems to be the Courts

    unrealistic goal that's being required here.


27.) The fact is a Caucasian- European- Male and a Hispanic- Puerto Rican- Female were both initially accused of

    having sex on VA property. The Veterans Affairs Police hide these accusations from both emplovees for ten

    months. The supervisory staff is told about the accusations and instructed to take action against them. In

    approximately eleven months the former trouble free Caucasian- European- Male has three additional

    irregular and highly suspect charges added against him (three of the four charges which involve the female)

    and he is removed by the overall supervisor Director Klinker.

28.) Three months later The Hispanic- Puerto Rican- Female has a hearing before the Assistant Director Brown

    and is given a mere three days suspension; and promoted a few months later. Both work for different

    departments; but have the same ultimate supervisor Director Klinker. The Plaintiff reasonably believes an

    overemphasis is being placed on the comparator female as not being a legitimate comparator because they

    have different immediate supervisors even though the primary circumstances in the initial and primarv

   violation (which is the most important factor) is the same,that being having sex on VA propertv. The

    Plaintiff reasonably claims there is not much of a leap here to show discrimination within a police



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    investigative tort.


29.) Basically two people are initially accused of having sex on VA property which starts a police investigation

    generating a Hostile Work Environment manifesting Harassment and eventually one is terminated and the

    other is given only three days off.

30.) The one terminated is a European- Caucasian- Male and the other one who onlv receives the three davs

    suspension is a Hispanic- Porto Rican- Female.


31.) The Plaintiff wonders if it would be considered discrimination if it was vice-versa, the Plaintiff reasonably

    believes so; and notwithstanding that is whvthe VA Police targeted the European- Caucasian-Male. And for

    what it's worth even the Hispanic-Porto Rican-Female Liz Marsh thinks it was Discrimination.


32.) This is very important "The Defendant states" to the effect: "The quantitv and aualitv of the

    comparators misconduct must be nearly identical to that of the plaintiff' to that of the plaintiff.

    The Plaintiff respectfully submits: Allegedly having sex together on VA Property fully meets that

    requirement. The defendant continues to state: "The most important factors in the disciplinary

    context are the nature of the offenses committed and the nature of the punishments imposed."

    Note: The comparator (Hispanic -Porto Rican- Femaie) received three(3)days suspension and the

    Piaintiff(European- Caucasian- Male) was terminated. But The Court is not to recognize the

    giaring discrimination here because Chief Robert Shogren has wised up (understanding he is

    under investigation at this time) and charged the Piaintiff with three more additional charges;

    that are a cover up and a stretch on reality and reason; and are now being protected by

    sovereign immunity.

33.) Note: Chief Robert Shogren and the Bay Pines Administrative Staff was being investigated for

    causing the effect of a Pattern, Practice and Cuiture of Retaliation against nine (9)employees

    who contacted the EEOC against them between the months of Juiy 01, 2010 through July 07,

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   2014 which the Veterans Affairs settled the case for one million dollars (1,000,000).

34.) Please note this was taking place behind the scenes during the Plaintiff's case starting on

    November 25,2011 through October 27,2012.

35.) It is reasonable to think that the suspicion and proof that arises from this very fact is a huge high

   caliber smoking gun! This screams there... right there... is the proof of a Wrongful Termination

    based on the totality of circumstance in the Plaintiffs Case!

36.) This is Discrimination and Harassment initiated and based on a law enforcement investigation

   recognizing the most important factors are the nature of the offenses committed and the

    punishments imposed. The quantity and quality of the comparator's misconduct must be the

    nearly identical.

37.) So why does the Defendant and the Court change the focus to them having different lobs? And

   as the Defendant states to the effect: "The quantity and gualitv of the comparators misconduct


    must be nearly identical to that of the plaintiff to that of the plaintiff. The Plaintiff respectfully

   submits: Allegedly having sex together on VA Property fully meets that requirement but for one

   is male and the other female. The defendant continues to state: "The most important factors in


   the disciplinary context are the nature of the offenses committed and the nature of the


    punishments imposed."


38.) Note: The comparator received three (3) days suspension and the Plaintiff was terminated. But

   The Court is not to recognize the glaring discrimination here because Chief Robert Shogren has

    wised up and charged the Plaintiff with three more additional charges; that are a stretch on

    reality and reason and now can't be argued due to their protected by sovereign immunity; but

    never the less scream of government corruption!


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39.) So as stated by the Court: "In evaluating a rule 12 motion to dismiss, the Court must accept as true

   all factual allegations in the complaint and "construe them in the light most favorable to the

    plaintiff." Mav that be the rule here and now?

40.) In addition:(2) Discrimination of a European-Caucasian-Male; FACT: The initial allegations were

   against "two people" supposedly having sex on VA property; yet only Officer Gilliam (the European

   Caucasian Male) was pursued by law enforcement, with fabricated evidence and not the Hispanic-

   Porto Rican Female mother. Why?

41.) This is a clear act of disparate treatment because both had been accused of having sex on VA

    propertv. initiating the police investigation and tort of the same. Robert Shogren tainted this entire

   case by committing DISCRIMINATION. He suspiciously only pursued the European White Male,

   initiated by the Defamation of Character allegation (ROC) byGina Berchtold) of TWO people having

   sex on VA property and not pursing the Female Hispanic Porto Rican (who was soon later

    promoted).

42.) The Agency fabricated three more additional charges against the Plaintiff; but can be refuted with

   evidence beyond probable cause and rising to beyond a reasonable doubt, as fabricated charges at

   trial.


43.) Note: these charges are now protected by sovereign immunity and therefore the Plaintiff makes

   the claim he should be shown favor and given the benefit of the doubt concerning these three

    additional bogus charges that could be refuted, "but for" sovereign immunity protection.

44.) The Agency is criminal with its sneaky and cunning ways; and is very aware of how to build a case

    against an employee that they seek to have removed. The Agency even takes arrogant pride in

    possessing this corrupt capability as evident throughout this case (See, Case Num. 8:10-cv-01482-


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    MSS-TBM for further examples of a Pattern, Practice and Culture of Retaliation against several

   employees.)(Please see Plaintiffs- Documentation of Case Events).




C.) Plaintiff's Wrongful Termination- is based on a "but for" Ratcheted Up
Retaliation Claim for an EEOC Contact




45.) The Plaintiff has at least nine(9) comparators or fellow Police Officers who experienced the same

type treatment now known as a Pattern, Practice and Culture of Retaliation against any employee who

contacts the EEOC against Veterans Affairs Chief of Police Robert Shogren or the Bay Pines

Administration (Case: 8:10-cv-01482-MSS-TBM Atkinson et al v. Secretary, Department of Veterans

Affairs.


46.) Please notice: Date Filed: July 01. 2010 through July 07. 2014). Compare with the Plaintiff Officer

Ed Gilham's Case dates: November 25. 2011 through October 27. 2012. Mr. Gilliam's case is couched


within the above listed ongoing case. The totality of circumstantial evidence that's here is overwhelming


and a reasonable motive to consider as being suspect in the Plaintiffs case.

47.) Individual causes and their effects can rarely be isolated. Minor actions and random incidents can

have disproportionatelv large-even decisive-effects.


48.) This Case against the Veterans Affairs officially started on November 25, 2011. Jeff Marsh

intentionally and maliciously committed defamation of character by slandering Ed Gilliam and Liz

Marsh to Gena Berchtold, who initiated a Report of Contact.

49.) VA representative Chief Shogren did not follow VA Code of Conduct where it is written that

supervisors are to promptly advise emplovees of any misconduct: but Ed Gilliam and Liz Marsh were

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not advised until ten (10) months later: after other allegations were frivolously fabricated against

Officer Gilliam. What Chief Shogren wrongfully did was exemplify poor judgment by promptly alerting

the supervisory staff of both individuals to take career damaging action against them. So the infamous

"Kick Me Sign" was placed on their backs: unknown to them for ten (10) long and agonizing months


and tainted this entire case.


50.) Because of this hidden Cause for reprisal or retaliation, a Hostile Work Environment developed

for both Ed Gilliam and Liz Marsh: but much more so for Officer Ed Gilliam revealing discrimination

between the two. This is a self-evident truth of Cause and Effect. What is the prominent difference

between the two one might ask? Well one is a European Caucasian Male and the other is a Hispanic

Porto Rican Female.


51.) On June 15. 2012 Ed Gilliam is dismayed and in fear for his career and livelihood and begins to

recognize he is being set up; so he contacts the EEOC for safety after Chief Robert Shogren


mysteriously refuses to meet with him. Officer Gilliam files an Informal Counseling Case Number

2001-0516-2012103538 Attention: Kelly Schafer(who was aware of Chief Shogren's bad conduct and

stated the same, she stated that Chief Shogren was unreasonable and had lust got up and walked


out of a APR in the past refusing to reason with employees).


52.) Note: This contact with the EEOC is a first in the life time of Officer Ed Gilliam and it is primarily


due to Officer Gilliam does not know what's going on in his work environment other than the general


term reprisal or retaliation effects for some unknown reason or cause and it is resulting in a Hostile


Work Environment. Examples are: reduction in responsibilities, hyper criticism, assignments off

property, arrest credentials suspended, standby for a fit for duty psychological evaluation, told to meet

outside the office for assignments, dress in plain cloths, the sabotage of an EEOC meeting,four (4)fact


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findings without prior counseling and him being warned only to see his new girlfriend on her lunches

and breaks which is what he was doing in the first place (Please see: Documentation of Case Events).

53.) It didn't make sense, at the time for Officer Gilliam and would not until September 25. 2012 when

he received his proposed removal letter and documentary evidence to studv.


54.) Please understand this is all new to Officer Gilliam because until the year 2012 he has never

been in trouble before while working at the Veteran's Affairs since his starting date on July of 2003.

Officer Gilliam's extra duties consisting of Primary Evidence Custodian and Training Officer were due in

part to his professional demeanor and ability to work unsupervised. So in the year of 2012 what he was

being accused of was totally out of character for him. Officer Gilliam had been considered a highly

regarded professional Police Officer holding a degree in Criminal Justice and the graduate of three

Police Academies; two federal and one by Florida Department of Law Enforcement (FDLE). Officer Ed

Gilliam was hlghlv invested in the discipline and practice of being a Professional Law Enforcement


Officer.


55.) Approximately forty-five (45) days after September 12, 2012 due to the advice of Union Steward

Albert Brown Officer Gilliam withdrew his informal complaint in hopes it would be considered an act of

goodwill; therefore influencing Chief Shogren and Director Suanne Klinker to have mercy on him;

perhaps allowing Officer Gilliam to maintain his career as a VA Police Officer. Officer Gilliam took Union

Steward Albert Browns advice and withdrew his informal complaint, primarilv due to fear of


retaliation from the Veterans Affairs Administration. But evidently it was too little too late. (It is

reasonable to believe that Union Steward Albert Brown was privy to the knowledge of Chief Shogren's

ongoing investigation at the time of engineering a Pattern, Practice and Culture of Retaliation against

all those Bay Pines employees who contacted the EEOC against him). Union Steward Albert Brown


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stated to Officer Gilliam to focus on his Written Response to the Director and his later Verbal Response

and to forget about the EEOC complaint. It would only further antagonize the administration. The

Plaintiff reasonably believes that the fear of retaliation and the threat of a twenty one (211 year


career removal is enough reason for failing to meet the forty five (45) day deadline if so disputed by


the Defendant.


56.) After Officer Gilliam's removal on October 27, 2012; on December 24, 2012 Officer Ed Gilliam had

Attorney Mark Esher file a formal EEO Mixed Case Complaint against the Veterans Affairs with no


problems in doing so at that time. The Plaintiff understood by filing a Mixed Case Complaint it would

not only allow objection to the four (4) allegations against the Plaintiff; in reference to the Veterans

Affairs committing High Crimes and Misdemeanors that far exceed the four (4) allegations made

against the Plaintiff-Officer Ed Gilliam; and in addition objecting to the EEOC Violations the Veteran's

Affairs is obviously guilty of committing.

57.) Please take recognition that the EEOC so misunderstood this Case that the Plaintiff organized what

he referred to as the E-Book for Attorney Mark Esher to submit initially to the MSPB. This E-Book has

now been modified to be the Documentation of Case Events and has already been submitted to The

Federal Court for evidence and review for trial.


58.) At the Alternative Dispute Resolution (ADR) meeting on September 14, 2012 Chief Shogren led

Officer Gilliam to believe that the Retaliation and Hostile Work Environment was because of newly

selected Lieutenant Pete Quimby, and further stated he did not hold grudges and in the past. He had

suspended officers for two weeks and then promoted them the next year and he wanted me to know

that (this is why Officer Gilliam and Albert Brown where shocked on September 25, 2012 when Chief

Shogren handed Officer Gilliam a proposed removal letter dated September 19, 2012.)


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59.) The question arises why did Chief Shogren play down the disciplinary action to be taken at the

ADR? Note; It only took Chief Shogren five(5)days to come up with these charges after the

EEOC-ADR.


60.) The Plaintiff reasonably believes the real causation for removal can be observed here. Latter on

Chief Shogren in pretense as a cover up even asked Officer Gilliam why he thought Pete Quimby was

coming against him for added subterfuge.

61.) All the while Chief Shogren was being investigated for a Pattern. Practice and Culture of

Retaliation against fellow employees reporting him to the EEOC.Chief Shogren was rebuked by one

of the EEOC representatives due to him becoming so adamant stating this case was not about EEOC

violations which he stood up and counted off the different EEOC Categories using his fingers as he did.

62.) Union Steward Albert Brown was at all the Plaintiffs meetings as a witness to this incident

and others for legitimacy and confirmation. The Plaintiff is aware that Mr. Brown could be


questioned on the verity and veracity of all the Plaintiffs statements that he boldly declares to be true,

which should confirm the truthfulness of the Plaintiffs testimony. This fact alone adds significant

credibility to the Plaintiff's testimony at all times!


63.) Now the Defendant is trying to argue that the effect of the removal can be considered but not the

extenuating circumstances or cause of the effects which with all due respect is absurd in reasoning,

especially in this case were the cause for the effects was hiddenfrom Officer Gilliam for ten (10)

months; and he fully didn't understand the causes for the effects until October 12, 2012 when he met

with Bay Pines Director Ms. Klinker, after restudying the documentary evidence against him that was

given to him at his removal; right before he was escorted off VA Property in humiliation.

64.) Whether The Court is considering this case as an EEOC Violation, MSPB Violation, Tort Violation or

a High Crimes and Misdemeanor Violation: the one thing that stands out and is crystal clear is the



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effects in this case: and the Cause of those Effects resulting in a Wrongful Termination-that


extrapolates all the way back to November 25. 2011, and a covert and negligent Veterans Affairs


police investigation of two people.


65.) At that time Chief Shogren decided to put a "Kick Me Sign" on Officer Ed Gilliam's back leading to

the decisive effect of a Wrongful Termination of a twenty-one (21) year; Navy Veteran, with an

achieved Associate Degree in Criminal Justice and a Multi-Disciplinary Bachelor Degree: in addition a

Three Time Police Academy Graduate-Career Established Veterans Affairs Police Officer, known as

Officer Edward Lee Gilliam. All due to the Cause and Effect of the notorious and naive' Veterans


Affairs Chief Robert Shogren and Bay Pines Administration displaying poor judgment by maliciously and

habitually engineering a Pattern, Practice and Culture of Retaliation; and committing High Crimes and

Misdemeanors(now protected by Sovereign Immunity).

66.) The end result is the Veterans Affairs made Accusations, based on Speculations but no real


Confirmations; all the while committing serious Violations against the Plaintiff Officer Edward Lee


Gilliam: wrongfullv ending his career as a documented Outstanding Police Officer.


67.) Peter Zeah the VA Human Resources head supervisor was in collaboration with Chief Shogren

which the Plaintiff believes is standard procedure. This fact was confirmed to the Plaintiff at the ADR by

Chief Shogren.

68.) Now let us think about this. Chief Shogren was being investigated at this very time for creating a

Pattern. Practice and Culture of Retaliation against not lust one but several employees who had


contacted the EEOC in Bay Pines; and even thoush the case did not go to trial and set precedents the


VA paid out a million dollar settlement.


69.) This is evidence that hold a reasonable corroboration of guilt and the same thing is happening in


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the Plaintiffs case, and this should speak volumes to a reasonable person. So the Plaintiff does not

think it's a stretch to acknowledge Mr. Zeah would be very knowledgeable to the point of being an

expert witness on the rules and regulations of the EEOC at that time.

70.) In other words Mr. Zeah would have known better than most to wait more than four months to


terminate the Plaintiff after his initial contact with the EEOC on June 15. 2012 for this verv reason here


and now. The average employee would have no idea he was being set up for failure at a later date.

71.) And in reference to before the Plaintiff contacted the EEOC. The cause to the effect is gradual, so

what? It has been stated over and over the Plaintiff had no idea of what was going on, because he was

not given reauired counsel so he went along hoping things would get better. Time does not disconnect

the cause from the effect! For people who hold grudges the cause and effect may take years for the

full retaliation to take place.

72.) Director Klinker's actual statement reveals she too had previous knowledge of the Plaintiffs initial

contact with the EEOC as follows:"While I started at Bay Pines the previous month. I may have


received verbal updates in June and beyond from the EEC Program Manager, but do not recall."


73.1 So it has been factually confirmed that Director Klinker did know about the Plaintiffs EEOC


contact the verv month the Plaintiff contacted the EEOC and there is good chance it was by Human


Resources Chief Peter Zeah and Joan Harris-


Note: The Plaintiff has always maintained the Retaliation against him was Ratcheted Up after he


contacted the EEOC;finally ending in his removal. The Plaintiff is making a factual statement that all

three individuals at the VA involved in his wrongful termination had knowledge of his contact with

EEOC on June 15, 2012 or shortly thereafter. They are: Director Klinker, Human Resources Chief Peter

Zeah, and Chief Robert Shogren and they all waited to terminate the Plaintiff effectively October 27,


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2012. Why would that be? Well now we know. Considering the totality of circumstances and the

correlation and corroboration going on in this case; the Plaintiff reasonably believes this was

intentional; in order to disconnect the termination with the EEOC contact.

74.) Note: the purposed removal letter was not formulated till after the APR according to Chief

Shogren when he stated to Officer Gilliam at the end of the APR on September 14. 2012 that he

wanted me to know he did not hold a grudge and that in the past he had placed officers on suspension

for two weeks and then promoted them the verv next vear. That's why Officer Gilliam and Union

Representative Albert Brown were in shock September 25,2012 when Officer Gilliam was asked to

sign his purposed removal letter and then escorted off VA property in humiliation.

75.) But this reveals Director Klinker was not merely "proceeding along lines previously contemplated"

and was very aware of the Plaintiffs case involving adultery and sex on property allegations, the

profanity he had used and his EEOC contact. This would be a correlation and corroboration with her

near future Non-Adherence removal decision on two pieces of paper.

76.) Note: Ms. Klinker expresses personal passion against Mr. Giiliam's adultery, profanity and

alleged lack of candor but sustains the four(4)charges on a mere two pieces of paper with little or

no explanation? Director Klinker's true motive for removal of Officer Edward Lee Gilliam is crystal

clear!


77.) The adverse action taken in this case is a demonstration of the causation. Example: Instead of the

VA Police directly stating they would pursue the European Caucasian Male and not the Hispanic Porto

Rican Female the Veterans Affairs actual actions speak louder than their unspoken words as being the

objective; making the discrimination true based on a pattern of indirect but discriminating behavior.

And that development and pattern of evidence would be direct evidence for discrimination and


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therefore corroboration of the same.




   D.)Plaintiff's Wrongful Termination- is based on a "but for"
   Discrimination and Harassment Claim Based on Non Adherence to
   Religion




 78.) It is a fact Director Klinker committed an EEOC Non-Adherence to her Religious Beliefs

 Violation (adultery) when she distinctly and emphatically pointed out at the Verbal Response Hearing

 of Mr. Gilliam in reference to stating to him directly and in a matter of fact tone he was being

 inconsistent by referring to Jeff Marsh in his Written Response as the estranged ex-husband when in

 actuality at the time he stated the allegations to staff member Gina Berchtold he was her HUSBAND!


 79.) Plaintiff is reasonably claiming a non-adherence claim here and it is not necessarily because he

 is a Protestant but because he is a non-Catholic (religious) as Director Klinker's religion happens to

 be. The Plaintiff reasonably believes Director Klinker has considered the Plaintiff as a Protestant or

 more so a heathen by committing the sin of adultery (It is common knowledge the animosity between

 Catholics and Protestants or Heathens).


 80). Note: The Plaintiff is not stating the Director knew he was a Protestant but simply behaved

 himself like a heathen according to her Catholic faith and it was evident to her because the Plaintiff


 had committed adultery; which was not even an issue in this case.



 81.) The Director was supposed to be unbiased in considering whether or not the Plaintiff had

 sex on VA property and notjudging the moral (religious) nature of the behavior. She should

 have been wondering why the Plaintiff had not received any Counseling on any of the charges,


 as required.

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82.) Also the Plaintiffs Attorney Mark Esher marveled at how the Director sustained all four

charges on a mere two pieces of paper. Attorney Esher stated to the Plaintiff that was very

unusual in removing a twenty-one year federal employee with really no explanation on two

pieces of paper. In addition the Plaintiff's Union Representative Albert Brown has written a

sworn statement on February 02, 2017 that reads:


83.)"To my recollection Lt. Quimby told Edward Gilliam to stay away from Liz Marsh except at

breaks and lunch. I as his union representative told Officer Ed that Quimby was within his

supervisory rights to make such and order, and that I thought that is was a good idea to stay

away because of the heat not doing so could bring.


I gave Officer Ed my thoughts about what the feelings of our fellow co-workers including Ms.

Klinker might have in regards to his relationship with Ms. Marsh. Because the word was out

that he cheated on his wife with another man's wife and that there was a small child involved


people would not view this situation in a favorable light. On the drive up to Ms. Klinker office

for Officers Ed's oral presentation I suggested that he not bring up Jeff Marsh, Ms. Marsh's

husband as being the bad guy because after all it was this man's marriage and family on the line

and that people would not see Mr. Marsh as the bad guy in all of this.


I don't remember the exact dates of these conversations.


Albert G. Brown."


84.) So the disparate treatment claim is between Director Klinker and the Plaintiffs adultery

vs the intangible understood employee that had not committed adultery or psvchologicallv


Director Klinker herself. Attorney Mark Esher, Union Steward Albert Brown and Officer Ed



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Gilliam all three believe Director Klinker's treatment and final decision was based on a "non-


adherence" religious discrimination claim. And as it has been written in the Bible "a threefold

cord is not quickly broken."


85.) There is an additional correlation here in reference to the charge Conduct Unbecoming a

Police Officer. Director Klinker stated she had a problem with the profariity that Mr. Gilliam

was reported of using. And Mr. Gilliam responded to her to the effect at his Verbal Response

hearing; with all due respect the profanity Mr. Gilliam used was between two consenting adults

who thought they were in private so if they chose to use profanity they would have every right

to especially when they thought they were in a private area. This is another correlation

supporting the Non-Adherence to her religious beliefs violation.



86.) Because Officer Ed Gilliam was defending himself against unjust charges (lies) Director

Klinker questioned his potential for rehabilitation, simply for defending the truth, she

completely and ineptly ignored the fact it is not a lack of candor to refute and deny lies that

attack your character and reputation. But this is another correlation of Non-Adherence to Ms.

Klinker's religious belief system.



87). The Plaintiff reasonably believes that Sergeant Walter Slam (Brad) revealed his motive by

making a Non-Adherence to his Religious Beliefs statement because later he commits fraud-

lying about a training technique as being malicious (but can't be argued due to sovereign

immunity), causing the Plaintiff to endure the humility of not being able to enter the office

area, and latter lied and hid Officer Gilliam's government issued vehicle keys causing him to




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miss an EEOC meeting with at the time supervisor Joan Harris(who is well aware of this

incident) at Bay Pines; and finally the removal of Officer Gilliam.


88.) These multiply incidents against the Plaintiff are definitely a serious and material change in

terms, condition or privileges of employment that epitomizes several "adverse employment

actions" made against the Plaintiff. Any one of these harassing behaviors confirms "adverse

employment action."


89.) The corroboration: The Plaintiff writes a written response to the Director and refers to the

husband of Ms. Marsh in the present tense as the estranged ex-husband and Director Klinker

the overall supervisor of the VA at Bay Pines later at the Verbal Response stops the meeting

and interjects Officer Gilliam with a piercing glare and then raises her voice with an emphatic

seething tone and states to the effect: Jeff Marsh wasn't Ms. Marsh's estranged husband at

the time like written here HE WAS HER HUSBAND! And then later sustains all four charges

against the Plaintiff with very limited explanation on two pieces of paper. The Plaintiff

reasonably believes this would be suspect to a reasonable person. This is another correlation

and therefore corroboration for the guilt of a Non-Adherence to Religious Beliefs Violation.


90.) Yes, the Plaintiff reasonably believes the statement has not only an implication but a

very strong implication with a primary inference. The meaning of the implication considering

the English language would be that of accusing the Plaintiff of adultery;for that is the way

Officer Gilliam understood it at the time, as did Union Representative Albert Brown and later

Attorney Mark Esher.




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91.) The Plaintiff reasonably believes that if this is not a poor double entendre' intended to

convey the implication of the Directors prejudice against adultery (Non-Adherence); then what

is the alternative view; the Director is a fanatical enthusiast about "accuracy in writing past

and present tense", which the Plaintiff believes would be absurd to that of a reasonable


person and rather ludicrous.



92.) The Hostile Work Environment was because Chief Robert Shoeren concealed a false


allegation (sex on VA propertv) made against the Plaintiff for ten months and alerted the


supervisorv staff to come against him, resulting in a figurative "Kick Me Sign" being placed on


the Plaintiffs back for ten months "but for" this provocation the Plaintiff reasonably feels he


would not have been so severely Harassed. This covert negligent and prejudiced police

investigation only targeted the European- Caucasian- Male and the alleged sex partner in the

case a Hispanic- Porto Rican- Female was left alone.


93.) The European-Caucasian-Male had to endure four belittling fact findings, suspension of

arrest powers, made to work in plain clothing, blocked from entering the police office, made to

receive daily assignments standing within the public eye, work assignments off property,

threatened with a very stressful fit for duty psychological evaluation which never took place

until initiated upon by Mr. Gilliam at an annual psychological evaluation, thwarted from

contacting the EEOC, wrongfully accused of meeting with girlfriend outside breaks and lunches,

was told by Detective Tim Torain he would never wear a police badge again. Supervisor Walter

Slam stated the Plaintiff was divorced and living in sin with staff member Liz Marsh and he did

not want to have any more Theologically discussions. Note: Sergeant Slam would later commit



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fraud against Officer Gilliam and thwart him from meeting with the EEOC along with Lt. Pete


Quimbv. escorted off property in shame.



94.) The Plaintiff is reasonably stating the Hostile Work Environment was not only based on

Non-Religious Harassment but a Law Enforcement Investigative Tort expressing harassment


due to race, color, sex, and national origin.



95.)This case clearly reveals reverse discrimination between a European Caucasian Male and


a Hispanic Porto Rican Female. The Plaintiff reasonably believes if he had not contacted an

attorney the Hispanic Porto Rican Female would not have even received three days suspension.


96.) By acknowledging the fact the Veterans Affairs Administration accusing Mr. Edward Lee

Gilliam of lying or not being candid by casting and fabricating lies against him and then

expecting him to admit to the lies, is one of the most despicable assaults that one human being

can make of another, and wouldn't that be an extreme injustice to allow those who are guilty of

it to get away with it? Well that's exactly what happened in this case because Officer Ed Gilliam

was defending himself against unjust charges (lies) when Director Klinker questioned his

potential for rehabilitation, simply for defending the truth, completely and ineptly ignoring the

fact it is not a lack of candor to refute and deny lies that attack your character or reputation.




Note: The Plaintiff will now counter the four charges alleged against him in brevity resembling

that of a police affidavit with a narrative expressing probable cause. He will express how

frivolous the charges are even to the point of them being lies, deception and criminal at times,

though he is well aware this is a civil suit. The point here is to show the true motive for his

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termination is actually a pattern, practice and culture of retaliation for contacting the EEOC on

June 15, 2012 and these charges are a ratcheted up expression of hostility, harassment ending in

a wrongful termination. Note: On May 1, 2012 Fact Finding Detective Tim Torain advised

Officer Gilliam that there was a good chance none of this would even make it up to the Chief at

Bay Pines. He was referring to the April 19, 2012 Fact Finding so this is what inspired the

Plaintiff because he wanted the Chief to know,to request to speak with Chief Robert Shogren,

which was denied. The Plaintiff was in shock that the Chief would not meet with him so


eventually the only way the Plaintiff could meet with the Chief was to file an informal EEOC

complaint and that's what he did on June 15, 2012. By doing this Officer Gilliam unknowingly

angered Chief Shogren due to the fact he was already under investigation for creating a Pattern,

Practice and Culture of any employee who reported him to the EEOC (Note: Officer Gilliam was

not aware of this sub textual investigation at the time). But with the Plalntifrs case there

would not only he harassment hut with a new Director on hoard Ms. Klinker there would

he a termination a wrongful termination but a termination none the less. This reference and

analysis is to show to the Federal Court and Jury the infuriating hostility the Veterans Affairs

Administration took in targeting OfBcer Gilliam for termination!




Here now the Plaintiff will easily counter and refute the four(4) charges in the actual

chronological order that was alleged against him; leaving the reader or iurv asking why OfRcer

Gilliam was terminated in the first place hv these frivolous charges that are a cover-up and


piling on manifesting a Hostile Work Environment and manipulating towards a Wrongful


Termination;




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45.) Inappropriate Conduct in the Work Place- Violation of the Plaintiff's
  Constitutional 4^^ Amendment Right.
   1.) It is a fact in reference to this charge Detective Tim Torain and newly selected Captain Dennis

      Moran wrongfully reached outside the Veterans Affairs Police Jurisdiction and contacted the

      estranged ex-husband Jeff Marsh on May 4, 2012 and coerced him to surrender to the Federal

      Government illegally obtained text messages (Breaking and Entering an iPhone Device) and

      therefore the Federal Government took of the fruits of the poisonous tree and maliciously used it

      as a foundation against Officer Gilliam in his removal by crafting an investigation to meet a

      predetermined outcome.


  2.) It is a fact Director Klinker did not hear any audible or view any video of Officer Gilliam and

      Staff Member Liz Marsh having sex on VA property; so Ms. Klinker evidently guessed that they

      had sex on VA property due to the false interpretation of illegally obtained private text messages

      or Non-Adherence to her Religious Beliefs which she was most passionate about.


  3.) It is a fact there is nothing inappropriate about two consenting adults text messaging or even

      sexting on their private iPhones.


  4.) Newly selected Captain Dennis Moran wrote to the effect in his report: The couple was guilty

      because according to Mr. Moran who admitted he did not know that much about texting (2012)

      had interviewed Ms. Marsh and she had stated she thought Jeff was breaking into her iPhone to

      get evidence against her to claim she was an unfit mother; so for her to take the risk and allow

      for a salacious dialog in texting to take place with Officer Gilliam they more than likely had sex

      on VA property. The maior problem with Captain Moran's theory is that you can delete any


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      unwanted text messages so this understanding totally refutes his fallacious allegation.




46.) Failure to Follow Instructions of a Supervisor-Perjury

   1.) It is a fact in reference to this charge that there is a neutral witness testimony by Union Steward

      Albert Brown that Lieutenant Pete Quimby's sworn testimony at the MSPB stating that he gave

      Mr. Gilliam a direct order to have no interaction with staff member Liz Marsh while on duty was

      never stated and therefore Lieutenant Pete Quimby's testimony is one of perjury.

  2.) It is a fact there is further evidence that Lieutenant Pete Quimby perjured himself because he

      never gave a direct order to Officer Gilliam to not have any interaction with MSA Liz Marsh

      while on duty on April 19, 2012 as he has stated and that very fact is reaffirmed at a later

      unannounced fact-finding when Captain Dennis Moran questioned Officer Gilliam note in the

      presence of Union Steward Brown; why he was meeting with MSA Liz Marsh except for on her

      scheduled lunch and breaks as instructed reinforcing the fact that Pete Quimby lied about ever

      stating a direct order to Officer Gilliam not to have any interaction with MSA Liz Marsh while

      on duty.

  3.) It is a fact that in March 14, 2012 Lt. Quimby sent an email confirmation to Officer Gilliam in

      reference to he was to only meet with MSA Liz Marsh at lunch and on her breaks. This would be

      considered a minor order. But on April 19, 2012 when he has stated he gave a direct order of no

      interaction with MSA Liz Marsh while on duty would be considered a major order. But

      suspiciously there is no email confirmation for what would be considered a major order. Because

      Pete Quimby is lying and has committed perjury against Officer Gilliam to get him removed

      from employment. And the proof of the evidence against him here is prima facie' in reasoning.

      But the hostility and harassment flagrantly expressed against Officer Gilliam is outrageous.

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47.) Conduct Unbecoming a Police Officer- Exaggeration of an assumed
  Private conversation

   1.) It is a fact that in reference to this charge Mr. Gilliam only spoke to Liz Marsh on April 26, 2012

      in what he thought was a private area and had every right to talk the way he did; understanding

      the YA was closed and Ms. Marsh was off work (and there was no order for him not to meet

      with her). Now when Mr. Gilliam's voice started to rise and he was heard hy only one other

      individual Officer Ron Testa who stepped out of the police office just across the way (10'feet)

      and gave a hand gesture for Officer Gilliam to lower his voice which Mr. Gilliam acknowledged

      and lowered his voice instantaneously expressing total self- control.

  2.) It is a fact in reference to this charge Director K1inker stated she had a problem with the

      profanity that Mr. Gilliam was reported using. And Mr. Gilliam responded to her at the Verbal

      Response Hearing; with all due respect the profanity Mj. Gilliam used was between two

      consenting adults who thought they were in private so if they chose to use profanity they would

      have every right to; especially when they thought they were in a private area.

  3.) It is a fact that Director Klinker having a problem with someone's language they freely use in

      private is once again reflective of her outrage; and an EEOC Non-Adherents to her Roman

      Catholic or Religious beliefs violation.

  4.) It is a fact that Officer Ron Testa never investigated this matter and never reported it until

      seven (7) days later who has now stated he will give a sworn statement that Chief Robert

      Shogren and Lieutenant Pete Ouimbv targeted Mr. Gilliam for removal.




48.) Endangering the Safety of a Supervisor-is absurd in reasoning and is
   evidence of a Non-Adherence to a Religious Beliefs Retaliation.
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  1.) It is a fact in reference to this charge that applying a rear chokehold is considered Deadly Force

     and anybody who applied one with malice would be either neutralized (shot), or arrested

     immediately or shortly thereafter and then taken to jail and possibly prison as a very dangerous

     criminal.


  2.) It is a fact that suspiciously no action what so ever was taken against Officer Ed Gilliam

     immediately or long-term; because the rear chokehold was applied in a slow to form training

     type manner without any malice and Sergeant Brad Slam and the other involved conspirators are

     discredited and obviously lying. The Veterans Affairs Police Departments lack of response

     corroborates this very fact; no matter their late and contrary testimony to the otherwise.



49.) VA Attorney Mulcahy Committed: Obstruction of Justice, Aiding and
   Abetting and was an Accessory After the Fact.

  1.) It is a fact that the Hispanic Veterans Affairs Attorney Karen Malcahy while at the MSPB

     committed Obstruction of Justice by Aiding and Abetting specifically witnesses Detective Tim

     Torain and Lieutenant Pete Quimby by presenting them a copy of Mr. Gilliam's Witness

      Questions that was mandatorily submitted by Officer Gilliam to the MSPB even after the fact he

      distinctly requested her not to in an email address.

  2.) The reason being Mr. Gilliam was planning on asking Lieutenant Pete Quimby while under oath:

     "What was the response of Officer Edward Gilliam and Union Steward Albert Brown when he

      allegedly gave a Direct Order to Officer Gilliam to not have any interaction with MSA Liz

      Marsh while on duty?" Next the Plaintiff Mr. Gilliam had planned on asking Detective Tim

      Torain the same question. He intended to reiterate to both of them that thev were both under oath

      and that both individuals were going to be asked the same question for parallel purposes in


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     correspondence with the truth. There would have been no corroboration because the Direct

     Order was never given. But the pressure for both individuals would have been unbearable

     because they both know the Direct Order was never stated and the both would not have known


     how to respond in order to match each other's fictitious testimony therefore revealing they were

     both conspiring a lie that caused a wrongful termination bv committing perjury against Officer

     Gilliam. Veterans Affairs Attorney Karen Malcaby maliciously thwarted this exposure

     from happening and obstructed the exoneration of Officer Edward Lee Gilliam.




In conclusion: The Plaintiff understands the pressure upon the Court and realizes it would be

much easier to follow the path of least resistance and decide in favor of the Defendant the US

Attorney in representing the Veterans Affairs Department. But the Plaintiff would respectfully

ask the Court to remember the words of Alexander Hamilton-"The first dutv of society is


iustice" the words inscribed upon the Court itself and create a new and insightful precedence

that illuminates the shop worn precedence of yesteryear and kindly allow a jury to decide the

truth of the most significant case. Thank you, Senior United States District Judge John E. Steele

for your deliberation and the opportunity to submit this Third Amended Complaint. Know that

my sincere prayer is it rises to your high standards of excellence!


                                                             Respectfully submitted,


                                                             August 24, 2018




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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                       FORT MYERS DIVISION


EDWARD LEE GILLIAM,

      Plaintiff,

vs.                                                   Case No: 2:16-CV-255-FTM-99CM




U.S. DEPARTMENT OF VETERANS AFFAIRS,

      Defendant,




PLAINTIFFS REBUTTAL TO MOTION TO DISMISS THIRD AMENDED COMPLAINT

             PLAINTIFF^S RESPECTFUL DEMAND FOR A JURY TRIAL




                            GENERAL ALLEGATIONS
              A. Pattern. Practice and Culture of Retaliation


      1. The Defendant has engaged in a pattern and practice of retaliation and hostile

         retaliatory work environment and has maintained a culture of retaliation and hostile

         retaliatory work environment and has allowed a culture of retaliation and has

         allowed a culture of retaliation and hostile retaliatory environment to be maintained

         at Bay Pines and Fort Myers Outpatient Clinic with respect to Equal Employment

         Opportunity(EEOC) activity, including making EEOC complaints, participating as a




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        witness on behalf of other parties' EEOC complaints and objecting to or opposing

        discriminatory and retaliatory conduct.

    2. For many years various high-ranking administrators, managers and supervisors at Bay

        Pines and Fort Myers Outpatient Clinic have punished employees or permitted or

        overlooked the hostile treatment of employees who made EEOC complaints or who

        objected to or opposed discrimination or retaliation. Such administrators have

        attempted to deter employees who have made EEOC complaints or have opposed

        discrimination or retaliation. For example, Van Buskirk, the Chief of Staff, and Lin, the

        Chief of the Medicine Service, with the knowledge, assistance and support of

        Hopkins, decided to and attempted to deter the filing of employment complaints by

        retaliation against those who engaged in EEOC activity (Specifically 2010 through

       2014). To this end Lin and Van Buskirk, with the actual or tacit support of Hopkins,

        undertook a course of retaliation against numerous Bay Pines employees for

       engaging in EEO and other protected activity, including inter alia. Dr. Diane Gowski,

        Dr. Claudia Cote, Sally Zachariah, Dr. Ramon Lopez, Dr. Jacques Durr, Dr. Robert

        Mandelkorn (Fort Myers Ophthalmologist) Ms. Sabrina Patrick, Ms. Roxanne Lainhart

       Bronner, Dr. Selim Elzayat, Dr. Valpersia Gainers-Hasugluw, Ms. Pamela Trimie, Dr.

        Michel Vandermael, Dr. David Johnson and Officer Edward Lee Gilliam (Fort Myers VA

       Police Officer).

    3. Such retaliation included, by way of example, various types of discipline and

       proposed discipline, including termination, suspension, reprimand and counseling;

       denying leadership positions; changing duties and office assignments; seeking


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        information to discipline and terminate employees; seeking out employees to assist

        in gathering derogatory information about employees, including the solicitation of


        reports of contact, which are written complaints by one employee against another


        and are used as a basis for steps in discipline; spying on employees; using unjust

        criticism and criteria and withholding awards until an employee agrees to provide


        information derogatory of other employees; rifling through employees'files and

        documents: creating and maintaining false records about employees; removing

        employees from committees; reducing or limiting physician's medical privileges and

        credentialing; subjectinE employees to inappropriate fitness-for-duty exams; failing


       to follow required procedural requirements for adverse or disciplinary actions;

       subjecting employees to lower evaluations, inappropriate bonuses and increasingly

        higher levels of discipline up to suspension without pay and termination; and using


       committees to insulate the administrators from apoearmg to have engaged in


       discriminatory or retaiiatorv conduct.


    4. As part of the pattern, practice and culture of retaliation and hostile retaliatory work

       environment, various administrators, managers and supervisors at Bay Pines and Fort

        Myers developed and maintained a reputation for retaliation against those who

       engage in EEOC activitv or do no join in their efforts to insulate their management


       stvie including their willingness to retaliate.


    5. As a result of the pattern, practice and culture of retaliation and hostile retaliatory

        work environment, a fear of retaliation has developed at Bay Pines and Fort Myers.

       As a result, a number of very good employees are afraid to come forward with


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       information they have concerning discriminatory or retaliatory conduct and a number

       of very good employees have chosen to leave.

    6. As part of the pattern, practice and culture of retaliation and hostile retaliatory work

       environment, concerns about retaliation are ignored and not investigated (For

       further examples see Case 8:10-cv-01482-MSS-TBM Document 31, Paragraph 12:A

       etc.).

    7. Klinker, Brown, Shogren, Barela, Torain, Moran, Quimby, Slam and Convery have

       engaged in this continuous pattern and practice of retaliation and have maintained a

       culture of retaliation and retaliatory hostile work environment at the Police Service

       (Please see Documentation of Case Events coupled with the Plaintiffs Third Amended


       Complaint).


    8. At the relevant times Klinker, Brown, Shogren, Barela, Torain, Moran, Quimby, Slam

       and Convery were aware of relevant EEOC activity by the Plaintiff or Policer Officer

       Edward Lee Gilliam when they took adverse actions against Officer Ed Gilliam

       described here and in the Documentation of Case Events and the Plaintiffs Third


       Amended Complaint.




                                           COUNT 1
                            Retaliation-Plaintiff Edward Lee Gilliam


    9. The Plaintiff Edward Lee Gilliam sues David Shulkin as the Secretary of Veterans

       Affairs, for ongoing retaliation under Title VII.

    10. The Plaintiff incorporates and realleges this Rebuttal, Documentation of Case Events

       and his Third Amended Complaint 1 through 105.

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    11. The Plaintiff engaged in EEOC activity which is protected under Title VII.

    12. The Defendant was aware of each of the Plaintiff's protected or EEOC activity under

       Title VII.


    13. The aforesaid adverse employment actions; other adverse actions; misconduct; and

       other conduct, acts and omissions which were to the Plaintiffs detriment; as well as

       other adverse employment actions and conduct, were taken or failed to be taken by

       administrators and managing and supervisory personnel at Bay Pines and Fort Myers

       in retaliation for the protected or EEOC activity of the Plaintiff including that set forth

       above. Documentation of Case Events and the Third Amended Complaint.

    14. As a direct and proximate result of engaging in protected or EEOC activity, the

       Plaintiff has suffered adverse employment actions and other adverse action, conduct,

       acts and omissions, including those found in the Documentation of Case Events and

       the Third Amended Complaint.

    15. Bay Pines and Fort Myers has intentionally maintained retaliatory and unlawful

       practices, to the detriment of employee Edward Lee Gilliam.

    16. Shogren at all-time knew or should have known of the retaliatory actions and

       omission being taken against the Plaintiff.

    17. Shogren failed to take necessary action to prevent or correct the retaliatory actions

       and omissions being taken and, in fact, ratified such conduct (Kick Me Sign).

    18. The Defendant,through the supervisors, managers and administrators of the Plaintiff

       including Klinker, Brown,Shogren, Barela, Torain, Quimby, Moran and Slam and




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       others engaged in, directed, and or ratified retaliatory conduct and frustrated the

        Plaintiffs' efforts to obtain relief under Title VII.


    19. The Defendant,through acceptance of such conduct, has fostered an attitude among

        administrators, managers and supervisors in Bay Pines and Fort Myers that retaliation

       against employees in order to discourage protected EEOC activity is acceptable

       employment practice by administrators, managers and supervisors at Bay Pines.

    20. Because of the willful action of the Defendant and its administrators, managers and

       supervisors, and as a proximate cause thereof, the Plaintiff has been and continues to

        be denied his rights to equal employment opportunity in violation of the Civil Rights

        Act of 1964, as amended,42 U.S.C. & 200 et seq.

    21. As a result of the foregoing, the Plaintiff has been damaged. Such damages include,

        but are not limited to discipline or proposed discipline including removal, suspension,

       demotion, reprimand, and counseling; constructive discharge; loss of pay; loss of

        benefits; loss of training; loss of supervisory positions; payment of attorneys'fees

       and legal costs; loss of an amicable work environment; loss of career and professional

       opportunities; loss of employment; harm to professional reputation; and humiliation,

        anxiety, degradation, embarrassment, physical injury or illness, and severe emotional

       suffering. The Plaintiff will continue in the future to suffer the same damages

       absent relief from the Court.


    22. The Plaintiff has satisfied all conditions precedent to the filing of this suit or has been

        prevented by the Defendant from satisfying such conditions or is excused under the

        law from satisfying any other conditions. WHEREFORE,the Plaintiff requests


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        prospective relief, including, inter alia, reinstatement;judgment for damages;

       attorneys'fees and costs; and such other and further relief as this Court deems just

       and proper and for a trial by jury on all issues triable.




                                           COUNT II


                                      Race-Discrimination




    23. The Plaintiff incorporates and realleges this Rebuttal, Documentation of Case Events

       and his Third Amended Complaint 1 through 105.

    24. As a direct and proximate result of the foregoing conduct, the Plaintiff Gilliam has

       been denied equal employment opportunity for wages, promotion, and other terms

       and conditions of employment by the Defendant because of Police Investigational

       race discrimination (Caucasian).

    25. The discriminatory actions were taken by the supervisory personnel within the VA in

       order to deprive Gilliam of employment and benefits of employment because of his

       race.



    26. The Defendant has intentionally maintained these discriminatory and unlawful

       practices to the detriment of its employee.

    27. The Third Amended Complaint referenced actions have created an intolerable hostile

       work environment.


    28. The Defendant at all relevant times knew, or should have known, of the referenced

       discrimination against the Plaintiff.



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    29. The Defendant has failed to take necessary action to prevent or correct the complaint

       of discrimination and, in fact ratified such conduct (The pursuit of Gilliam and not

       Marsh).

    30. The Defendant,through the Plaintiff's managers, supervisors and administrators, has

       engaged in, directed or ratified conduct and denied and frustrated the Plaintiff's

       efforts to obtain relief under Title VII.


    31. The Defendant,through acceptance of the complained of conduct, has fostered an

       attitude among managers, supervisors and administrators at Bay Pines and Fort

       Myers that racial, gender and failure to follow religious adherence discrimination is

       an acceptable employment practice.

    32. Because of the willful actions of the Defendant and its administrators, managers and

       supervisors, and as a proximate cause thereof, Gilliam has been and continues to be

       denied his rights to equal employment opportunity in violation of the Civil Rights Act

       of 1964, as amended,42 U.S.C. & 2000e etseq.

    33. As a result of the foregoing, Gilliam has been damaged. Those damages include, but

       are not limited to discipline, lost pay, loss of benefits, loss of training, loss of an

       amicable working environment, loss of career and professional opportunities,

       payment of attorneys'fees and legal costs, harm to professional reputation,

       humiliation, anxiety degradation, embarrassment, physical injury and severe

       emotional suffering. Gilliam will continue in the future to suffer these damages

       absent relief from the Court.




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    34. The Plaintiff has satisfied all conditions precedent to filing this suit or he has been

        prevented by the Defendant from satisfying such conditions precedent or he is

        excused under the law from satisfying ahy other conditions. WHEREFORE, Plaintiff

        requests prospective relief, judgment for damages, attorneys' fees and costs, and

       such other relief as this Court deems just and proper and for a trial by jury on all

       issues so triable.




                                            COUNT III


                               (Gender Discrimination-Gilliaml




    35. The Plaintiff incorporates and realleges this Rebuttal, Documentation of Case Events

       and his Third Amended Complaint 1 through 105.

    36. As a direct and proximate result of the foregoing conduct, the Plaintiff Gilliam has

        been denied equal employment opportunity for wages, promotion, and other terms

       and conditions of employment by the Defendant because of Police Investigational

       gender discrimination (male).

    37. The discriminatory actions were taken by the supervisory personnel within the VA in

       order to deprive Gilliam of employment and benefits of employment because of his

       gender.

    38. The Defendant has intentionally maintained these discriminatory and unlawful

        practices to the detriment of its employee.

    39. The Third Amended Complaint referenced actions have created an intolerable hostile
                               /



       work environment.




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    40. The Defendant at all relevant times knew, or should have known, of the referenced

       discrimination against the Plaintiff.

    41. The Defendant has failed to take necessary action to prevent or correct the complaint

       of discrimination and, in fact ratified such conduct.

    42. The Defendant, through the Plaintiff's managers, supervisors and administrators, has

       engaged in, directed or ratified conduct and denied and frustrated the Plaintiff's

       efforts to obtain relief under Title VII.


    43. The Defendant,through acceptance of the complained of conduct, has fostered an

       attitude among managers, supervisors and administrators at Bay Pines and Fort

       Myers that racial, gender and failure to follow religious adherence discrimination is

       an acceptable employment practice.

    44. Because of the willful actions of the Defendant and its administrators, managers and

       supervisors, and as a proximate cause thereof, Gilliam has been and continues to be

       denied his rights to equal employment opportunity in violation of the Civil Rights Act

       of 1964, as amended,42 U.S.C. & 2000e etseq.

    45. As a result of the foregoing, Gilliam has been damaged. Those damages include, but

       are not limited to discipline, lost pay, loss of benefits, loss of training, loss of an

       amicable working environment, loss of career and professional opportunities,

       payment of attorneys'fees and legal costs, harm to professional reputation,

       humiliation, anxiety degradation, embarrassment, physical injury and severe

       emotional suffering. Gilliam will continue in the future to suffer these damages

       absent relief from the Court.



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    46. The Plaintiff has satisfied all conditions precedent to filing this suit or he has been

        prevented by the Defendant from satisfying such conditions precedent or he is

        excused under the law from satisfying any other conditions. WHEREFORE, Plaintiff

        requests prospective relief, judgment for damages, attorneys' fees and costs, and

       such other relief as this Court deems just and proper and for a trial by jury on all

       issues so triable.


                                       COUNT IV


                    (Retaliatory Hostile Work Environment-Gllllam)




    47. The Plaintiff incorporates and realleges this Rebuttal, Documentation of Case Events

        and his Third Amended Complaint 1 through 105.

    48. The aforesaid action, conduct and omissions have created an intolerable hostile work

        environment.


    49. As a result of the foregoing, the Plaintiff has been damaged. Such damages include,

        but are not limited to constructive discharge, payment of attorney's fees and legal

        costs, loss of an amicable work environment, humiliation, anxiety, degradation,

        embarrassment, physical injury or illness, and severe emotional suffering. The

        Plaintiff will continue in the future to suffer the same damages absent relief from the

        Court.


    50. The Plaintiff has satisfied all conditions precedent to the filing of this suit or has been

        prevented by the Defendant from satisfying such conditions or is excused under the

       law from satisfying any other conditions. WHEREFORE,the Plaintiffs request

        prospective relief, judgment of damages, attorneys' fees and costs and such other

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        and further relief as this Court deems just and proper and for a trial by jury on all

        issues triable.



                                           COUNT V


                                       Iniunctive Relief




    51. The Plaintiff incorporates and realleges this Rebuttal, Documentation of Case Events

        and his Third Amended Complaint 1 through 105.

    52. Unless the practices are enjoined, the Plaintiff will suffer irreparable harm.

    53. There is: (1) a substantial likelihood of success on the merits;(2) irreparable injury

        will be suffered unless an injunction issues;(3)the injury to the Plaintiff is greater

       than any damage the proposed injunction may cause the opposing party; and (4)the

       injunction, is issued, will not disserve the public interest.

    54. Plaintiff requests the Court award him his attorneys' fees and costs and enter

        preliminary and permanent injunctions enjoining the following practices, actions and

       conduct: a. Violating Title VII or the Civil Rights Act of 1964,42 U.S.A. & 2000e, et

       seq., as described based on race, gender and religious adherents.

    55. Such other practices, actions or conduct that the Court deems appropriate and

        proper to enjoin. WHEREFORE, Plaintiff demands trial by jury of all issues so triable

       and such other and further relief as the Court deems just and appropriate.




                                           COUNT VI


                          (Failure to follow Religious Adherence-Gilliam)




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    56. The Plaintiff incorporates and realleges this Rebuttal, Documentation of Case Events

       and his Third Amended Complaint 1 through 105.

    57. As a direct and proximate result of the foregoing conduct, the Plaintiff Gilliam has

        been denied equal employment opportunity for wages, promotion, and other terms

       and conditions of employment by the Defendant because of Shogren, Klinker Slam

       and others discrimination for not following their religious adherence.

    58. The discriminatory actions were taken by the supervisory personnel within the VA in

       order to deprive Gilliam of employment and benefits of employment because of his

       failure to follow their or commonly known religious adherence (Adultery).

    59. The Defendant has intentionally maintained these discriminatory and unlawful

        practices to the detriment of its employee throughout November 25, 2011 till now.

    60. The Third Amended Complaint referenced actions have created an intolerable hostile

       work environment.


    61. The Defendant at all relevant times knew, or should have known, of the referenced

       discrimination against the Plaintiff.

    62. The Defendant has failed to take necessary action to prevent or correct the complaint

       of discrimination and, in fact ratified such conduct (Specifically Shogren should have

        known at the start the consequences of his covert and malicious actions against

        Gilliam).

    63. The Defendant,through the Plaintiff's managers, supervisors and administrators, has

       engaged in, directed or ratified conduct and denied and frustrated the Plaintiff's

        efforts to obtain relief under Title VII.

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    64. The Defendant, through acceptance of the complained of conduct, has fostered an

        attitude among managers, supervisors and administrators at Bay Pines and Fort

        Myers that racial, gender and failure to follow religious adherence discrimination is

        an acceptable employment practice.

    65. Because of the willful actions of the Defendant and its administrators, managers and

        supervisors, and as a proximate cause thereof, Gilliam has been and continues to be

        denied his rights to equal employment opportunity in violation of the Civil Rights Act

        of 1964, as amended,42 U.S.C. & 2000e etseq.

    66. As a result of the foregoing, Gilliam has been damaged. Those damages include, but

        are not limited to discipline, lost pay, loss of benefits, loss of training, loss of an

        amicable working environment, loss of career and professional opportunities,

        payment of attorneys' fees and legal costs, harm to professional reputation,

        humiliation, anxiety degradation, embarrassment, physical injury and severe

        emotional suffering. Gilliam will continue in the future to suffer these damages

        absent relief from the Court.


    67. The Plaintiff has satisfied all conditions precedent to filing this suit or he has been

        prevented by the Defendant from satisfying such conditions precedent or he is

        excused under the law from satisfying any other conditions. WHEREFORE, Plaintiff

        requests prospective relief, judgment for damages, attorneys' fees and costs, and

       such other relief as this Court deems just and proper and for a trial by jury on all

       issues so triable.




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    68. What started as a failure to follow Shogrens' and others religious adherence and then

       followed by a police- investigation expressing discrimination of two people and then

        a ratcheted up retaliation because of an EEOC contact; finally ended with a past

        known EEOC contact and a failure to heel to Klinkers religious adherence now

       coupled with Shogrens causing hostile work environment to unfortunately conclude

        with a wrongful termination for Gilliam.

    69. The thing speaks for itself and the evidence is clear.




                                  DEMAND FOR A JURY TRIAL




    70. The Plaintiff Edward Lee Gilliam hereby demands a trial by jury on all issues so triable.




                                                           Respectfully submitted,



                                                           September 28, 2018




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                                  DOCKET #75




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                                              1203




                                UNITED STATES DISTRICT COURT
                                 MIDDiIe district of FLORIDA
                                       FORT MYERS DIVISION


        EDWARD LEE GILLIAN,            |
                     Plaintiff,
                                        1


         V.                             I     Case No: 2:16-cv-255-FtM-29UAM
        U.S. DEPARTMENT OF VETERANS
        AFFAIRS,

                     Defendant.




                                       OPINION AND ORDER


                This matter comes before the Court on review of defendant's

         Motion to Dismiss (Doc. ,#67) filed on August 31, 2018.              Plaintiff

         filed a Response (Doc. #73) on September 28, 2018. For the reasons

         stated below, the motion! is granted.

                                       I.   STANDAKD OP REVIEW


                Under Federal Rule of Civil Procedure 8(a)(2), a Complaint

         must contain a "short and plain statement of the claim showing

         that the pleader is entitled to relief." Fed. R. Civ. P. 8(a)(2).

         This obligation "requires more than labels- and conclusions, and a
         formulaic recitation of the elements of a cause of action will not

         do."     Bell Atl. Corp. ^ v. Twombly, 550 U.S. 544, 555 (2007)

         (citation omitted). To survive dismissal, the factual allegations

         must be "plausible" and "must be enough to raise a right to relief
         above the speculative level."          Id. at 555.      See also Edwards v.




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         Prime Inc.', 602 F.3d 1275, 1291 (11th Cir. 2010).                         This requires

         "more       than    an    unadorned,       the-defendant-unlawfully-harmed-me

         accusation."         Ashcroft' v.         Iqbal,    556    U.S.         662,   678    (2009)

         (citations omitted).

                 In deciding a Rule 12(5)(6) motion to dismiss, the Court must
                                         I


         accept all factual allegations in a complaint as true and take

         them in the light most favorable to plaintiff, Erickson v. Pardus,

         551 U.S.      89 (2007), buf; "[l]egal conclusions                      without     adequate

         factual support are entitled to no assumption of truth," Mamani v.

         Berzain, 654 F.3d 1148, 1153 (11th Cir. 2011) (citations omitted).

         "Threadbare        recitals   of    the    elements       of   a    cause      of    action,

         supported by mere conclusory statements, do not suffice."                             Iqbal,

         556 U.S. at 678.         "Factual allegations that are merely consistent

         with    a    defendant's      liability      fall     short        of    being      facially

         plausible." Chaparro v. Carnival Corp., 693 F.3d 1333, 1337 (11th

         Cir. 2012) (citations omitted).             Thus, the Court engages in a two-

         step approach: "When there are well-pleaded factual allegations,

         a court should assume their veracity and then determine whether

         they plausibly give rise to an entitlement to relief." Iqbal, 556

         U.S. at 679.


                 A pleading drafted^ by a party proceeding pro se, like the
         Third Amended Complaint at issue here, is held to a less stringent

         standard than one drafted by an attorney, and the Court will

         construe the allegations contained therein liberally.                               Jones v.




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         Fla.   Parole   Comm'n,    787   F.3d    1105,     1107   (11th    Cir.    2015).

         Nevertheless, "a pro se pleading must suggest (even if inartfully)

         that there is at least some factual support for a claim; it is not

         enough just to invoke a legal theory devoid of any factual basis."

         Id.    Thus, even a pro se, complaint must allege facts showing that

         each cause of action ass'erted is facially plausible.
                                          II.    BACKGROUND


                Plaintiff Edward Lee Gilliam (Plaintiff) initiated this case

         on April 4, 2016.      (Doc. #1.)        On January 31, 2017, the Court

         dismissed his Complaint without prejudice for failure to pay the

         requisite filing fee (Doc. #14), and on                   February 27, 2017,

         Plaintiff■filed a Second^Amended Complaint (Doc. #17) .^ Defendant

         then moved to dismiss the Second Amended Complaint for failure to

         state a claim. (Doc. #25.)        The Court granted Defendant's motion

         and    dismissed   Plaintiff's     Second       Amended    Complaint      without

         prejudice.

             On January 1, 2018i, Plaintiff filed another Second Amended
         Complaint, and DefendanL once more moved to dismiss the Second
         Amended Complaint for failure to state a claim. On August 3, 2018,
         the Court granted Defendant's motion and dismissed Plaintiff's
         Second Amended Complaint without prejudice.               (Doc. #63. )    In that


              ^ Although this complaint was actually Plaintiff's first
         amended complaint, Pldintiff titled it as a Second Amended
         Complaint.




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         Opinion and Order, the |Court instructed Plaintiff that it would
                                                                                    I



         afford him "one last opportunity to file a concise Third Amended

         Complaint" that fixes jthe pleading deficiencies in his prior
         complaints.                    i                                ,                    '

                 On August 24, 2018,jPlaintiff filed a Third Amended Complaint
         (Doc. #66), and Defendant has again moved to dismiss the pleading

         for failure to state a claim.


                                     III. THIRD AMENDED COMPLAINT


                 As best the Court can gather from the Third Amended Complaint

         (Doc. #66): In 2012, Plaintiff - a Protestant, Caucasian male of

         European descent - worked as a police officer at the the Fort Myers

         Outpatient       Clinic   (the     Clinic)     of   the       Bay   Pines       Veterans

         Administration (Bay Pines VA).          Plaintiff believes that Bay Pines

         VA Police Chief Robert Shogren (Chief Shogren) and Lieutenant Pete

         Quimby    (Lieutenant     Quimby)     orchestrated        a    scheme    to     sabotage

         Plaintiff's career at the VA by creating a disciplinary "paper

         trail against [him]," which ultimately resulted in the termination

         of   Plaintiff's     employment.       (Id.    p.   8.)        On   June       15,       2012,

         Plaintiff filed a request for "informal counseling" with an EEOC

         Counselor,    and    on   September 14, 2012,             Plaintiff        attended         a

         mediation session with Chief Shogren.               (Id. pp. 17, 19.)

               Mediation was ultimately unsuccessful, and on September 19,

         2012,    Chief    Shogren    issued    Plaintiff      a       Proposed     Removal         of

         Employment letter (the Proposed Removal Letter), which charged the




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         following misconduct: (1) endangering the safety of a supervisor;
         (2) conduct unbecoming o;f a police officer; (3) failure to follow
         supervisory instructions; and (4) inappropriate conduct in the
         workplace. (I^ pp. 19,| 31-34.) The first charge relates to an
        incident in June or Julyj 2012 in which Plaintiff allegedly placed
        Sergeant Slam in a chok^old. (I^ p. 34.) The second charge
        deals with a heated argument between Plaintiff and Ms. Marsh at
        the Clinic on April 26, 2012, which was overheard by Officer Ron
        Testa.   (Id. p. 33.)      The third charge arises out of Plaintiff's

        disobeying Lieutenant Quimby's order that Plaintiff have no
        contact with Ms. Marsh during work hours. (Id. p. 32.) The fourth
        charge is based on the allegation that Plaintiff and Ms. Marsh
        engaged in sexual relations on VA property. (Id. p. 31.)
             On October 12, 2012, Plaintiff met with Bay Pines VA Director
        Susanne Klinker (Director Klinker) to discuss the charges in the
        Proposed Removal Letter. |(Id. p. 20.) Director Klinker ultimately
        upheld the charges and! terminated Plaintiff s employment on
        October 27, 2012.    (Id. p!. 19.)   This lawsuit followed.

                                   IV.   MOTION TO DISMISS

             Plaintiff   asserts    claims   against   Defendant   for   numerous

        violations of Title VII of The Civil Rights Act of 1964, 42 U.S.C.

       § 2000e ^ seq.^      Defendant now moves to dismiss Plaintiff's Third


             ^ Plaintiff also asserts a claim for violation of his Fourth
       Amendment rights.      In its previous Opinion and Order granting




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         Amended Complaint. Defendant argues that Plaintiff has not alleged
         facts necessary to state actionable claims under Title VII.                The
         Court agrees.               j

        A.    Title VII Principleis

              Although the Third Amended Complaint cites only Title VII
        generally, the Court will proceed under Section 2000e-16, which
        applies to federal employers.         See Canino v. U.S. E.E.O.C., 707
        F.2d 468, 472 (11th Cir; 1983) (observing that Section 2000e-16

        "is the exclusive remedy for charges brought against federal
                                     j
        employers including reprisals"}; see also 5 U.S.C. § 7703(a)(2).
        As relevant here, that section mandates that "[a]11 personnel
        actions affecting employees . . . in executive agencies . . . be
        made free from any discrimination based on race, color, religion,
        sex, or national origin."        42 U.S.C. § 2000e-16(a).

             As explained in the Court's prior Opinion and Order (Doc.

        #63, p. 8), the language in Section 2000e-16(a) is a bit different

        from that contained in Title VII's anti-discrimination provision


        Defendant's motion to dismiss (Doc. #38), the Court found it laclted
        subject matter jurisdic1:ion over Plaintiff's Fourth Amendment
        claim because that claim was barred by sovereign immunity. The
        Court instructed Plaintiff that such claims barred by sovereign
        immunity "should        be reasserted." (I^ pp. 25-26.)              Although
        Plaintiff now claims thati he "is not intentionally disrespecting
        the [Court's] Order to not further discuss crimes protected by
        sovereign immunity," (Doc. #66, p. 8), he has clearly disregarded
        the Court's order and reasserted such claims.            Because the Court
        previously found Plaintiff's Fourth Amendment claim is barred by
        sovereign immunity, the Court will not again address the merits of
        that claim here, but will dismiss it with prejudice.




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         pertaining to private employers.            Although the Eleventh Circuit
         has not explicitly addressed              whether. Section 2000e-2(a) and
         Section 2000e-16(a) are ilegally equivalent, the Eleventh Circuit
         has "assume[d] . . . that the coverage is the same.                   Putman v..
        Sec'y, Dep't of Veterans,Affairs, 510 F. App'x 827, 829 (11th Cir.
        2013). Thus, in addressing the viability of Plaintiff's Title VII.
        claims, the Court proceeds on the presumption that his claims under
        Section 2000e-16 are as actionable as they would be against a
        private employer under 42 U.S.C.' § 2000e-2(a).
        B.      Discnnn.na.ti.on — Disparate Treatment

                  1) Race, National Origin, and Gender

                The Court begins by considering Plaintiff's claim that the VA

        discriminated against him because of his gender (male), race
        (Caucasian), and national origin (European).

                Employment      discrimination     claims   all   require      proof   of

        discriminatory intent." Trask v. Sec'y,' Dep't of Veterans Affairs,
        822 F.3d 1179, 1192 (11th Cir. 2016) (citation omitted). Where no

        direct evidence of discriminatory intent exists, establishing "a
        prima    facie   case    for   disparate     treatment in        an   employment

        discrimination case" requires the plaintiff to show that: "(1)

        []he is a member of a protected class; (2) []he was subjected to
        an adverse employment action; (3) h[is] employer treated similarly

        situated employees outside of h[is] protected class more favorably
        than []he was treated; and (4) []he was qualified to do the




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         job.        Id■ (citation omitted); see also McDonnell Douglas Corp. v.
         Green, 411 U.S. 792 (1973) .

                To establish the tljiird factor, a plaintiff must identify a
        proper "comparator" - that is, someone who is "similarly situated"
         to the plaintiff "in all material respects."                           Lewis v. City of

        Union City, Georgia,                i_ F.Sd          , 2019 WL 1285058, at *8 (11th
        Cir. Mar. 21, 2019) (internal quotation marks omitted) .                                   If two

        employees are not similarly situated in all material respects, the
        "comparator[]         [is]    simply too dissimilar                  to permit         a    valid
        inference that invidious,discrimination is afoot."                             Id. at *10.

                "[A] plaintiff is not required to plead a prima facie case of

        discrimination in order to survive dismissal."                              McCone v. Pitney
        Bowes,       Inc.,    582    F.    App'x      798,        801 n.4     (11th     Cir.       2014);

        Swierkiewicz v. Sorema H. A., 534 U.S. 506, 510 (2002) (holding
        that the prima facie standard in employment discrimination cases

        "is     an    evidentiary         standard,     not        a   pleading       requirement") .

        Nonetheless, the claim must still be "facially plausible," that

        is, it must "allow the court to draw the reasonable inference that

        [the    defendant]      [i]s       liable     for     .    .   .    [the]    discrimination

        [charged] ."         I^ at 801.         Thus, while the failure to plead a

       particular discrimination element does not mandate dismissal, it

        can constitute grounds for dismissal where it is apparent that the

       plaintiff will never be able to carry his burden of proof on that




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         element.    See Evans v. Ga. Req'l Hosp., 850 F.3d 1248, 1254 (11th
         Cir. 2017).

               Plaintiff alleges that "proof" of discriminatory intent for
         Plaintiff's race, national origin, and gender discrimination
        claims lies in the fact that he was fired for having an affair
         with Ms. Marsh, whereas Ms. Marsh - a Hispanic woman - was only
        suspended for three days.        However, as with Plaintiff's two prior
        race, national origin, and gender discrimination complaints, the

        instant claim is facially implausible because Plaintiff has failed

        to identify a viable comparator.             In fact. Plaintiff appears to

        concede that Ms. Marsh is not an adequate comparator "because they
        worked at different departments within the Veteran Affairs," but

        asserts this "inflexible and t[oo] rigid" rule is "absurd in

        reasoning" and should not foreclose Plaintiff's claim.               (Doc. #66,

        p. 10.)     While Plaintiff may take issue with the state of the law,

        the Court is nonetheless bound by it.            And because Plaintiff has

        failed to' identify an adequate comparator, his race, national

        origin, and gender discrimination claims are facially implausible.

        Lewis,        F.Sd       , 2019 WL 1285058, at *10; Lathem, 172 F.3d at

        793.


                  2) Religion

               As to the religious discrimination claim. Plaintiff asserts

        that he - a Protestant - was stigmatized for committing adultery

        and behaving "like a heathen according to [Director Klinker's]




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         Catholic faith." (Doc. #66, p. 24.) In support thereof. Plaintiff
         cites a conversation in■which Sergeant Slam stated he no longer
         wanted to have theological discussions with Plaintiff because
         Plaintiff    was divorced land living in sin with staff member Liz
        Marsh . . . ."      (Id. p. 28.)   In further support of his religious
        discrimination claim. Plaintiff alleges that Sergeant Slam hid
        Plaintiff's car Iceys and .loclced Plaintiff out of his office.            (Id.
        p. 26.) Plaintiff also points to his pre-termination hearing with
        Director     Klinlcer,    during   which    she    corrected      Plaintiff's

        miscategorization of Mr. Marsh as Ms. Marsh's "ex-husband" (which
        he was not yet) in an "emphatic seething tone" while looking at
        Plaintiff with "a piercing glare . . . ." (^ p. 27. )                According
        to   Plaintiff,    this     demonstrated    that   her    attitude     towards

        Plaintiff and her decision to terminate Plaintiff's employment
        were religiously motivated.

             Plaintiff's claim is one of discrimination due to religious
        "nonadherence," rather than a typical disparate treatment claim.

        A religious nonadherence claim alleges that the failure to conform

        one's religious beliefs ;and/or conduct to an employer's pious

        expectations resulted in;an adverse employment action.               See e.g.

        Noyes v. Kelly Servs., 488 F.3d 1163, 1168-69 (9th Cir. 2007);

        Shapolia v. Los Alamos Nat. Lab., 992 F.2d 1033, 1037-38 (10th

        Cir. 1993); of. Young v. Sw. Sav. & Loan Ass'n, 509 F.2d 140, 141

        (5th Cir. 1975)    ("Congress, through Title VII, has provided the



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        courts with a means to preserve religious diversity from forced

        religious conformity.").

              A plaintiff alleging religious discrimination usually must

        establish the same multi-factor prima facie case discussed supra.^
        Lubetsky v. Applied Card Sys., Inc., 296 F.3d 1301, 1305 (11th

        Cir. 2002).         However, several Circuit Courts of Appeals have

        employed a more       relaxed prima facie standard for nonadherence

        claims.   Shapolia, 992 F.2d at 1038; Noyes, 488 F.3d at 1168-69.

        Under this standard,

                   in order to establish a prima facie case in
                   actions where the plaintiff claims that he was
                   discriminated against because he did not share
                   certain      religjious    beliefs     held     by    his
                   supervisors, .  . the plaintiff must show (1)
                   that  he   was subjected   to some    adverse
                   employment action; (2) that, at the time the
                   employment action was taken, the employee's
                   job performance was satisfactory; and (3) some
                   additional evidence to support the inference
                   that the employment actions were, taken because
                   of   a    discriminatory   motive     based   upon   the
                   employee's failure to hold or follow his or
                   her     employer's    religious     beliefs.

        Shapolia, 992 F.2d at 1038; see Noyes, 488 F.3d at 1168 (finding

        "instructive" Shapolia's treatment of "non-adherence" religious

        discrimination claims).

             Regardless of which iprima facie standard the Court applies,

        the Third Amended Complaint does not plead a plausible religious



             ^ The plaintiff must also "present . . . evidence that the
        decision-maker knew of his religion" or beliefs.                Lubetsky, 296
        F.3d at 1306.




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         discrimination claim.      First, Plaintiff has not alleged that he
         was treated worse than a non-Protestant, and thus has not pled a

            routine" disparate treajtment claim.'' Second, as the Court noted
        in its previous Opinion and Order (Doc. #63, p. 16), while
        Plaintiff may have beep upset by Sergeant Slam's refusal to

        continue engaging in theological conversations, that refusal does

        not constitute an "adverse employment action" - that is, "a serious

        and material change in the terms, conditions, or privileges of

        employment." Davis v. Town of Lake Park, -245 F.3d 1232, 1239 (11th

        Cir. 2001) ("[T]he employee's subjective view of the significance

        and adversity of the employer's action is not controlling; the

        employment action must be materially adverse as viewed by a
        reasonable person in the circumstances.").

               Moreover, Sergeant Slam's alleged hiding of Plaintiff's keys

        and locking Plaintiff out of his office is insufficient to support

        an inference that Sergeant Slam's actions "were taken because of

        a   discriminatory motive" based        upon   Plaintiff's     nonadherence.
                                    i
        Shapolia, 992 F.2d at |1038.            And while Director Klinker's
        termination of Plaintiff's employment with the VA was certainly an

        adverse employment action, Burlington Indus., Inc. v. Ellerth, 524

        U.S. 742, 761, (1998), her "piercing glare" and the "emphatic

        seething tone" she allegedly used when discussing the Marshes'


              '' The Third Amended Complaint contains no mention of Ms.
        Marsh's religion, if any..



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         marital status is insufficient to permit an inference that she
                                    i
         fired Plaintiff because he did not hold or adhere to her religious
         beliefs.


        C.     Hostile Work Environment - Religious Harassment

               Plaintiff also asse;rts a Title VII hostile work environment

        claim based on religiousj harassment.                hostile work environment
        claim under Title VII is ;established upon proof that the workplace
        is permeated with discriminatory intimidation, ridicule, and
        insult, that is sufficiently severe or pervasive to alter the

        conditions of the victim' is employment and create an abusive working
        environment."     Miller v. Kenworth of Dothan, Inc., 277 F.Sd 1269,

        1275      (11th     Cir.        2002)      (quotation             and      citation

        omitted).    "[IJsolated incidents (unless extremely serious) will

        not amount to discriminatory changes in the terms and conditions

        of employment." Faraqher v. City of Boca Raton, 524 U.S. 775, 788

        (1998)(internal quotation omitted).             A "[plaintiff] cannot make

        actionable ordinary workplace tribulations by turning a 'personal

        feud' between [him]self and a coworker into a Title VII religiously

        hostile work.environment claim." Alhallaq v. Radha Soami Trading,

        LLC, 484 F. App'x 293, 2916 (11th Cir. 2012).

               Even reading the Third Amended Complaint liberally, the Court

        can find    only one factual allegation^ supporting                     Plaintiff s


               ^ In support of his hostile work environment claim. Plaintiff
        also asserts that he was forced to undergo investigation, "thwarted


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         hostile work environment!claim: Sergeant Slam's refusal to discuss
        religion with Plaintiff because Plaintiff was "divorced and living
        in sin.         (Doc. #66, p.) 28.)    Again, while this may have truly
        offended Plaintiff, it is not sufficient to allege a facially
                                     [

        plausible hostile work j environment claim based on religious
        harassment. See Alhallaqi, 484 F. App'x at 296 (affirming dismissal
                  - ^                i
        of religious harassment claim brought by Muslim plaintiff who was
        subjected to constant Christian gospel music, called "dirty," and
        told to "burn in Hell,"' since such conduct - "albeit rude and

        insensitive" - was not; "sufficiently severe or pervasive").
        Indeed, Sergeant Slam's ^ decision to not discuss religion with
        Plaintiff seems the very jopposite of religious harassment.

        D.   Retaliation


             Lastly, Plaintiff asserts that a "culture of retaliation"

        developed after he sought informal counseling with the EEOC on

        June 15, 2012. (Doc. #66,1 p. 30.) Defendant argues that Plaintiff

        cannot establish the requisite causal link between his protected
                                     i

        activity and the adverse '^mployment action. The Court agrees.
             To establish a prima facie case of retaliation under Title

        VII, "a plaintiff must |prove that he engaged in statutorily


       from contacting the EEOC, jwrongfully accused of meeting with [his]
       girlfriend outside breaks and lunches, [and] was told by Detective
       Tim Torain he would nevetjwear a police badge again." (Doc. #66,
       p. 28.) Plaintiff, however, alleges no facts plausibly indicating
       that any of these events were religiously motivated.



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        protected activity, he s.uffered a materially adverse action, and

        there was some causal relation between the two events." Goldsmith

        V. Baqby Elevator Co., ! 513 F.3d 1261, 1277 (11th Cir. 2008)
        (citing Burlington N. & jsanta Fe Ry. Co. v. White, 548 U.S. 53
                                    I
        (2006)). The "filing ofjan EEOC claim is a statutorily protected
        activity." Burgos v. Napolitano, 330 F. App'x 187, 189 (11th Cir.

        2009) (quotation and citation omitted).

              Where "temporal proximity" is the only evidence of a "causal

        relation" offered, that proximity must be "very close" to allow an

        inference of causation. , Clark Cty. Sch. Dist. v. Breeden, 532

        U.S. 268, 273 (2001) (citations omitted); Grier v. Snow, 206 F.

        App'x 866, 869 (11th Cir. 2006).         Four months - even three months

        - is too long.     See e.g. Breeden, 532 U.S. at 273; Thomas v. Cooper

        Lighting, Inc., 506 F.3d 1361, 1364 (11th Cir. 2007). Importantly,

        however,   the   proximity Iclock   begins ■ to     run    on   the    date   the

        decision-maker gains "knowledge of [the] protected activity," not

        on the date the plaintiffj engages in protected activity. Breeden,
        532 U.S. at 273; see alsd Smith v. City of Fort Pierce, Fla., 565

        F. App'x 774, 778 (11th dir. 2014).

             The   Third    Amended' Complaint,      like    the      Second    Amended

        Complaint, is unclear as' to when Director Klinker first learned

        that Plaintiff had filed an EEO complaint.®         In the end, that fact



             ® Plaintiff asserts that Director Klinker learned that he
        filed an EEO complaint in June of 2012, yet he provides a quote in


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         does not matter.     Even if she found out shortly before she decided

        to sustain the charges and terminate Plaintiff's employment with

        the VA, those charges had indisputably already been levied against

        Plaintiff and his removal proposed.' In other words, in deciding
        to fire Plaintiff, Director Klinker was merely "proceeding along
        lines previously contemplated."            Breeden, 532 U.S. at 272.         That

        fact negates any possiloility of causality based on temporal
        proximity.       Id.; see     also Smith, 565 F.           App'x at 779 (no

        retaliatory causation where employer "had already contemplated

        disciplining [plaintiff] before she filed her Charge"). Since the
        Third Amended Complaint ; contains no other facts from which the

        Court may plausibly infer causation. Plaintiff's retaliation claim

        is dismissed.


                In its previous Opinion and Order (Doc. #63, pp. 21-22), the

        Court     detailed   the    Second   Amended     Complaint's      deficiencies,

        provided Plaintiff with specific instructions on how to comply

        with the Federal Rules, land instructed Plaintiff that the Court
                                      I

        would afford him one last;opportunity to file a legally sufficient

        complaint.      However,     Plaintiff     has   failed    to    resolve   those




        which Director Klinker states she "do[es] not recall." (Doc. #66,
        p. 22.)

           'The September 19, 2012 Proposed Removal Letter was issued
        more than three months after Plaintiff sought EEOC counseling,
        thus falling outside the causation proximity window.




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         deficiencies and has again filed an insufficient pleading. Because
         permitting    Plaintiff     i
                                    another    opportunity       to file    an   amended

        complaint would be futile, the Third Amended Complaint is dismissed

        with prejudice. ■ See Bryant v. Dupree, 252 F.3d 1161, 1163 (11th

        Cir. 2001)(noting that a district court need not allow further

        amendments "where amendment would be futile" (citation omitted)).

              Accordingly, it is now

              ORDERED:
                                     1




              1.   Defendant's Motion to Dismiss (Doc. #67) is GRANTED and

        the Third Amended Complaint (Doc. #66) is dismissed with prejudice.

              2.   The Clerk shall enter judgment accordingly, terminate all

        pending motions and deadlines as moot, and close the file.

             DONE AND ORDERED at Fort Myers, Florida, this               27th    day of

        March, 2019.




                                                     E. STE2LE

                                              S^^ICR UNITED STATES DISTRICT JUDGE


        Copies: Parties and Counsel of record




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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION



EDWARD LEE GILLIAM,

        Plaintiff,

vs.                                                     Case No: 2:16-GV-255-FTM-29UAM




U.S. DEPARTMENT OF VETERANS AFFAIRS,

        Defendant,
                     MOTION FOR REASON WHY CERTAIN PARTS

                                          OF THE

                            PLAINTIFF^S EVIDENCE IGNORED

      1. It appears the (U.S Assistant Attorney David P. Sullivan) Defendant's request for
         dismissal was read word for word and agreed upon by the court; but (Pro Se') Edward
          Lee Gilliam's "PLAINTIFFS REBUTTAL TO MOTION TO DISMISS THIRD AMENDED

         COMPLAINT-PLAINTIFF'S RESPECTFUL DEMAND FOR A JURY TRIAL" was completely
         ignored by the court according to the Opinion and Order.

      2. The Plaintiff's "Rebuttal" clearly referenced on page 4 paragraph 10 if read and
         acknowledged. "The Plaintiff incorporates and realleges this Rebuttal, Documentation
         of Case Events and his Third Amended Complaint 1 through 105." These three
         documents are the totalitv of the whole or complaint, as the rebuttal was a further

         development of the complaint as the Plaintiff attempted to answer the Defendants

         response and request for dismissal of the preliminarv Third Amended Complaint

         before trial.

      3. Note: the Documentation of Case Events has been added to the record. This is

         important evidence because Mr. Gilliam recorded his interpretation immediately after




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       each of the four fact-findings against him. This documentation is completely ignored
       by the court, as was the Plaintiffs Rebuttal.

    4. This was most definitely a Wrongful Termination! A termination so severe that the

       Defendant had to claim Sovereign Immunity to protect the many Veterans Affairs staff
       members involved, including VA Attorney Karen Mulcahy because of all their high
       crimes and misdemeanors committed against Plaintiff Edward Lee Gilliam. This court

       robotically ignores this egregious fact. The Plaintiff respectfully states we are not
       machines that can just ignore this felonious fact and all its implications it contributes

       to this case, and to do so would be unreasonable and ridiculous.

    5. On July 27, 2018, during Mr. Gilliam's seven hour and fifteen minute deposition he
       stated to the Defendant to the effect he could stack all his allegations to the ceiling
       against him and it would not matter in court; because it was all tainted from the start

       and he would prove it to a jury! The reason the allegations are all tainted is that Chief

       Robert Shogren accepted allegations of adultery and sex on VA property by a soon to
       be ex-husband and concealed these personally damaging allegations from the Plaintiff
       for ten months. Jeff Marsh bent on revenge against Mr. Edward L. Gilliam and Liz
       Marsh therefore, delivered to staff member Gina Birchtold a false allegation intending
       on sabotaging Police Officer Gilliam's twenty-one year federal career, along with Jeff's
       soon to be ex-wife; a subtext undermining this entire case!

   6. Instead of promptly confronting Officer Gilliam and solving, the problem Chief
       Shogren concealed the salacious allegation of adultery and sex on VA property from
       both Mr. Gilliam and Ms. Marsh for ten hostile months! The supervisors of both Mr.

       Giliiam and Ms. Marsh were understandabiv inflamed bv these ailegations and

       instructed to watch the mixed coupie and report anv activitv! Therefore, it is easy to
       see this is what led to all the other tainted allegations later made against Mr.
       Gilliam. The later contact with the EEOC oniv aggravated the situation. A child could

       see this; for the thing speaks for itself and the evidence is clear regardless if Non
       Adherence to Religious beliefs motivated it or not the act itself is still wrong!




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   7. The supervisor's tainted mindset and prejudiced behavior, manifested a retaliation

      causing a hostile work environment, and extreme mental anguish for Mr. Gilliam who

      did not know what was going on for ten hostile months. He only recognized this

      pattern, practice and culture of retaliation attacking him; that had previously been a

      culture of friendliness. Because of the willful actions of the Defendant and its

      administrators, managers and supervisors, and as a proximate cause thereof. Mr.

      Gilliam has been and continues to be denied his rights to equal employment

      opportunity in violation for the Civil Rights Act of 1964, as amended,42 U.S.C. &

      2000e et seq.

   8. As a result of the foreeoine. Mr. Gilliam has been damaged. Those damages include,

      but are not limited to discipline, lost pay, loss of benefits, loss of training, loss of an

      amicable working environment, loss of career and professional opportunities,

      payment of attorneys'fees and legal costs, loss of pension, harm to professional

      reputation, humiliation, anxiety, degradation, embarrassment, physical injury and

      severe emotional suffering. Mr. Gilliam will continue in the future to suffer these

      damages absent relief from the court. With all due respect, to dismiss this case with

      prejudice is a heinous iniusticel Note: Chief Robert Shogren tainted this entire case by

      pitting the supervisory staff against two individuals who were unaware of the reason

      why the friendly culture changed to one of retaliation; for ten excruciating months.

   9. The court has not ever addressed this issue; and the Plaintiff is respectfully asking

      why? Does it not taint the entire case understanding Chief Shogren baited the

      supervisory staff to target and attack Officer Gilliam unawares for ten months? Does

      this not reveal a conspiracy to set up Mr. Gilliam for termination?

   10. The Plaintiff reasonably believes this is prime facie evidence that convicts the Veterans

      Affairs of guilt for committing a severe Wrongful Termination. This is an irrefutable

      fact from the start and was the undercurrent cause of all the surface effects that led

      to Officer Gilliam's Wrongful Termination!                   Respectfully submitted.



                                                                 April 1, 2019


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                              UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     FORT MYERS DIVISION


        EDWARD LEE GILLIAM,


                    Plaintiff,

        V.                                       Case No:    2:16-cv-255-FtM-29UAM

        U.S.   DEPARTMENT   OF   VETERANS
        AFFAIRS,

                     Defendant.



                                      OPINION AMD ORDER


               This matter comes before the Court on plaintiff's Motion for

        Reason why Certain Parts of the Plaintiff's Evidence Ignored (Doc.

        #78) filed on April 1, 2C)19, which the Court construes as a motion

        for reconsideration.         For the reasons set forth below, the motion

        is denied.

                                                    I.


               "Reconsideration       of    a     Court's     previous      order   is     an

         extraordinary remedy and, thus, is a power which should be used

         sparingly."      Am. Ass'n of People With Disabilities v. Hood, 278
         F. Supp. 2d 1337, 1339 (M.D. Fla. 2003)(citation omitted).                      "The
         courts    have     delineated          three    major     grounds      justifying

         reconsideration: (1) an intervening change in controlling law; (2)

         the availability of new evidence; (3) the need to correct clear

         error or prevent manifest injustice."               Sussman v. Salem, Saxon &

         Nielsen, P.A., 153 F.R.D. 689, 694 (M.D. Fla. 1994).




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                                               II.


                Plaintiff seeks reconsideration of the Court's Opinion and

        Order    (Doc. #75) because    he believes the Court            committed    clear

        error     when   it   "completely   ignored"     plaintiff's       response    in

        opposition and plaintiff's Documentation of Case Events.                     (Doc.

        #78, p. 1.)       Plaintiff argues that if the Court had considered

        these documents, the Court would have found "irrefutable" evidence

        of "a severe [w]rongful [t]ermination" and thus would have denied

        defendant's motion to dismiss.        The Court finds no merit in this


        argument.

              Plaintiff s response simply contains bare legal conclusions

        and recounts the elements of each cause of action asserted in the


        Third Amended Complaint. ■ Thus, the response failed to demonstrate

        how the Third Amended Complaint set forth any viable causes of

        action.    See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (To avoid

        dismissal, "[t]hreadbare recitals of the elements of a cause of

        action, supported by mere conclusory statements, do not suffice."

        (citation and quotation omitted)); Mamani v. Berzain, 654                    F.3d

        1148, 1153 (11th Cir. 2011) ("Legal conclusions without adequate

        factual support are entitled to no assumption of truth." (citations

        omitted)).

              As to plaintiff's Documentation of Case Events, this document

        is comprised of plaintiff's commentary and his interpretation of

        the timeline of events leading up to this lawsuit.                    Like the




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         response, the   Documentation of Case Events failed to               set     forth

         sufficient factual allegations "to raise [plaintiff's] right to

         relief above the speculative level."          Bell Atl. Corp. v. Twombly,

         550 U.S. 544,'555 (2007).

              Plaintiff also asserts that the Court "robotically ignores"

         the "egregious fact" that defendant asserted a sovereign immunity

         defense to avoid liability for its "high crimes and misdemeanors

        committed against Plaintiff."         (Doc. #78, p. 2.)          Plaintiff has

        set forth no basis for reconsideration of the Court's finding as

        to sovereign immunity - aside from his belief that its application

        is "unreasonable and ridiculous."        (Id.)      The Court therefore need

        not again address the merits of defendant's sovereign immunity

        defense.


              For the foregoing reasons, the Court finds that plaintiff has

        failed to identify a "need to correct clear error or prevent

        manifest injustice."         Sussman, 153 F.R.D. at 694.           Plaintiff's

        motion is therefore denied.


             Accordingly, it is hereby

             ORDERED AND ADJUDGED:


              Plaintiff's   Motion     for   Reason   why    Certain     Parts   of    the

        Plaintiff's Evidence Ignored (Doc. #78) is DENIED.




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              DONE and OltDERED at Fort Myers, Florida, this             18th      day

         of April, 2019.




                                            JCfHp E. S^'ESLE
                                            S:=^ICR UNITED STATES DISTRICT JUDGE


         Copies:
         Parties and Counsel of Record




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                                       DOCKET #82




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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                   FORT MYERS DIVISION




EDWARD LEE GILLIAM,

         Plaintiff,

vs.                                                        Case No: 2:16-CV-255-FTM-29UAM




U.S. DEPARTMENT OF VETERANS AFFAIRS,

         Defendant,


          MOTION FOR THE RECORD AND COURT RECONSIDERATION

      1. A Pattern, Practice and Culture of Retaliation against all those employees who contact
         the EEOC is an established fact at the Bay Pines/Fort Myers Veterans Affairs; but the
         court's opinion is except for Mr. Edward Lee Gilliam's Case! The question arises how this
         can be.

      2. This documented fact of a hostile Pattern, Practice and Culture of Retaliation for any
         employee who contacts the EEOC; is largely established by a class action civil suit that
         was settled by the VA having to pay out approximately one million dollars to multiple
         (comparators) police officers, doctors, nurses and other administrative personnel
          between the years of 2010 and 2014. This fact and its correlation to the Plaintiff's Case
         has not been fully addressed by this court.
      3. Please understand Mr. Gilliam's Case took place between the years 2011 and 2012
         during these VA "admitted" years of a Pattern, Practice and Culture of Retaliation
         against any employee contacting the EEOC and this retaliatory conduct coming from the
         VA Administration was in existence at the very time when Mr. Gilliam contacted the
         EEOC in his individual case. For the record, Mr. Gilliam was not aware of his case 2011
         thru 2012 being within this ongoing case 2010 thru 2014 for a Pattern, Practice and
         Culture of Retaliation for any employee who contacts the EEOC at the time.
      4. This truth is a verv important fact in the Plaintiffs Case and it is clearlv documented
         evidence found in Case 8:10-cv-01482-MSS-TBM. It is on PACER and therefore the
         official record. The Plaintiff has referenced this most clarifying case as evidence to the
         court several times but the court continues to ignore this very fact. In addition, the court


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     ignores, Chief Robert Shogren concealed incendiary allegations against Mr. Gilliam for
     ten hostile months while alerting the supervisory staff to target him for removal,
     tainting all allegations against Mr. Gilliam.
  5. The prima facie' evidence is Mr. Gilliam contacted the EEOC and Lizabeth Marsh did not.
      Mr. Gilliam was terminated and Ms. Marsh was not. However,the court fails to
      recognize Ms. Marsh as a valid comparator when it is in reference to discrimination.
      However, how could the court be in silence in reference to all the other police
     comparators for retaliation here who contacted the EEOC as did Mr. Gilliam and met
     with career ending or damaging results?
  6. This fact is a strong and reasonable inference or probable cause that the contact with
     the EEOC was the reason for the retaliation, which led to Mr. Gilliam's wrongful
     termination along with all the others in the class action suit claiming the same.
  7. Once this fact is acknowledged that this type of hostile work environment existed for,
     any employee who contacted the EEOC against the VA Administration was met with a
     pattern, practice and culture of retaliation and corroborated by an ongoing class action
     civil suit, which confirms the same. It is plain to see Mr. Gilliam was just another victim
     of the VA Administrations typical Pattern, Practice and Culture of Retaliation because he
     also as in the Class Action Civil Suit contacted the EEOC which led to his wrongful
     termination.

  8. Mr. Gilliam respectfully asks the court how can the court's Opinion and Order be that
     Mr. Gilliam was not also, a victim of the VA "admitted" ongoing Pattern, Practice and
     Culture of Retaliation against any employee who contacts the EEOC? This is a severe and
     obvious violation of the Civil Rights Act of 1964 as amended,42 U.S.C. & 2000e et seq.
  9. The Tampa Federal Court is in conflict with the Fort Myers Federal Court in reference to
     the Veterans Affairs "admitted" Pattern, Practice and Culture of Retaliation against "any
     employee" contacting the EEOC against the VA Administration. The Tampa Court Case
     acknowledges the Veteran Affairs violation of the Civil Rights Act of 1964 during the
     same time of Officer Gilliam's Case but the Fort Myers Federal Court fails to
     acknowledge the same. NOTE: THE FORT MYERS CBOC VA FALLS UNDER THE SAME
     ADMINISTRATION AS BAY PINES.
  10. How can this be that an "admitted" Bay Pines Veterans Affairs Pattern, Practice and
      Culture of Retaliation against employees contacting the EEOC existed in Bay Pines-
      Tampa but not with Mr. Gilliam in Fort Myers? The answer is it could not. Thank you for
     your reconsideration.
                                                                  Respectfully submitted.



                                                                  April 25, 2019


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                                       DOCKET #83




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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   FORT MYERS DIVISION

         EDWARD LEE GILLIAM,

                     Plaintiff,

         V.
                                          Case No:    2:16-cv-255-FtM-29UAM

         U.S. DEPARTMENT OF VETERANS
         AFFAIRS,

                     Defendant.



                                          ORDER

              This matter comes before the Court on plaintiff's Motion for
        the Record and Court Reconsideration (Doc. #82) filed on April 25,
        2019. For the reasons set forth below, the motion is denied.
              On March 27, 2019, the Court dismissed plaintiff's Third
        Amended Complaint with prejudice because plaintiff failed to state
        a legally sufficient cause of action.         (Doc. #75.)   On April 1,
        2019, plaintiff filed a motion for reconsideration, arguing the
        Court erroneously dismissed the Third Amended Complaint with
        prejudice.    (Doc. # 78.)     The Court denied plaintiff's motion
        because plaintiff failed to identify a "need to correct clear error
        or prevent manifest injustice."            Sussman v. Salem, Saxon &

        Nielsen, P.A., 153 F.R.D. 689, 694 (M.D. Fla. 1994).        (Doc. #81,
        p. 3.)

              Plaintiff filed the instant motion on April 25, 2019 and again
        argues the Court erred in dismissing the Third Amended Complaint




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         with prejudice. Plaintiff cites to the Middle District of Florida
         case Atkinson v. U.S. Dep't of Veteran Affairs, 8:lO-cv-01482-MSS-
         TBM, which he describes as a retaliation law suit that was settled
         by the Department of Veteran Affairs (the VA) and resulted in a
         one million dollar judgment awarded to "police officers, doctors,
         nurses and other administrative personnel between the years of
         2010 and 2014" - the time period during which plaintiff alleges
         the retaliation against him occurred at the VA. Plaintiff argues
         the   Court "continues        to ignore" this "clearly           documented
         evidence,"    which     he    contends    supports    the   Third   Amended
         Complaint's retaliation claims. (Doc. #82, p. 1.) Plaintiff also
         argues that the Court, "ignores" that "Chief Robert Shogren
         concealed incendiary allegations against [Plaintiff] for ten
         hostile months while alerting the supervisory staff to target him
        for removal . . . ." ■ (id., pp. 1-2.)

               The   existence    of    Atkinson      and   Plaintiff's   conclusory
        allegations regarding Chief Robert Shogren have no bearing on
        whether the Third Amended Complaint alleged a legally sufficient
        cause of action.^      Thus, for the foregoing reasons, and for the


             1 Plaintiff also appears to argue that the Court overlooks
        the fact that the police officer plaintiffs in Atkinson are valid
        comparators in support of the Third Amended Complaint's various
        discrimination claims.        To plead a discrimination claim, however,
        a plaintiff must identify a comparator who was treated "more
        favorably than []he was treated."     Trask v. Sec'y, Dep't of
        Veterans Affairs, 822 F.3d 1179, 1192 - (11th Cir. 2016)(emphasis
        added)(citation omitted).        Plaintiff's citation to Atkinson does




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         reasons previously stated by the Court, Plaintiff has failed to

         identify a "need to correct clear error or prevent manifest
         injustice.     Sussman, 153 F.R.D. at 694.          Plaintiff's motion is

         therefore denied.

               Accordingly, it is hereby

               ORDERED AND ADJUDGED:


               Plaintiff s Motion for the Record and Court Reconsideration

         (Doc. #82) is DENIED.

              DONE and ORDERED at Fort Myers, Florida, this             6th    day of
         May, 2019.




                                            JCj!Hl(l E. SIEELE
                                            S^JilOR UNITED STATES DISTRICT JUDGE


        Copies:
        Parties and Counsel of Record




        not alter the Court's previous finding that Plaintiff failed to
        identify such a comparator.




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                                       DOCKET #84




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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

EDWARD LEE GILLIAM,

         Plaintiff,

vs.                                                      Case No: 2:16-CV-255-FTM-29UAM




U.S. DEPARTMENT OF VETERANS AFFAIRS,

         Defendant,

                      MOTION FOR NEED TO CORRECT CLEAR ERROR
                                                  OR
                               PREVENT MANIFEST INJUSTICE

      1. The Court erred in dismissing the Plaintiff's Third Amended Complaint with
         prejudice and there is an urgent need to correct the clear error. With all due
         respect, the Court has misunderstood Mr. Edward Lee Gilliam's intent and
         purpose in the ORDER document 83. To begin with, the point is Chief Shogren
         concealing these inflammatory and salacious allegations from Officer Gilliam for
         ten (10) RETALIATORY and hostile months taints all the four charges against
         him, which appear to be pretextual in nature. These allegations were manifested
         against Officer Gilliam on September 25, 2012 in a proposed removal letter, only
         after Mr. Gilliam had contacted the EEOC on June 15, 2012.

      2. Why are the four charges tainted? Because Mr. Shogren targeted VA Police
         Officer Gilliam. How, well Chief Shogren did not promptly contact Officer Gilliam
         about the allegations for ten months but alerted the supervisory staff that Officer
         Gilliam was having an affair and sex on VA property. This of course inflamed the
         supervisory staff to take retaliation against VA Police Officer Gilliam without him
         knowing what was going on. He only recognized a friendly culture change to a
         culture of retaliation or reprisal against him overnight and had to agonize why
         this was happening to him. The statement from the Court this has no bearing in
         reference to Mr. Gilliam's Third Amended Complaint is absurd in reasoning. Mr.
         Gilliam respectfully believes the Courts statement to be extremely arbitrary, and
         is a legally sufficient cause for action. This is clearly retaliatory and a reprisal in
         nature and therefore a violation of Officer Gilliam's Civil Rights Act of 1964 etc.
         How could this not be an EEOC protected class violation of reprisal?




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  3. The real issue at this point is not discrimination but reprisal or RETALIATION for
     any employee who contacts the EEOC. This fact and violation is confirmed
     between the years of 2010 and 2014 by a class action lawsuit. And once again,
     with Officer Gilliam's Case that occurred between 2011 through 2012, couched in
     between the 2010 through 2014 class action lawsuit.

  4. Atkinson v. U. S. Deo't of Veterans Affairs. 8: 10-cv-01482-MSS-TBM. is prima
     facie' evidence of a correlation, corroboration and confirmation that this
     established Pattern, Practice and Culture of reprisal or RETALIATION for any
     employee who contacts the EEOC was on going at the same time Officer Gilliam
     contacted the EEOC especially within the VA Police Department. This same fact
     was analyzed the same in Mr. Gilliam's Third Amended Complaint and manifests
     a huge preponderance of evidence for the Court to glean from.


  5. Note: Mr. Gilliam did not use The Atkinson v. U. S. Deo't of Veterans Affairs
     Case as reference to MSA Liz Marsh as a comparator for discrimination as the
     Court has misstated. This Court has misunderstood the Plaintiff's intent (please
     see page 2 footnote 1 on ORDER document #83). The Atkinson Case presents a
     preponderance of evidence of other VA Police Officer employees who
     contacted the EEOC that met with reprisal or RETALIATION not as this Court
     has stated as for "discrimination" a completely different protected class and that
     makes a big difference for this courts consideration! Mr. Gilliam is reasonably
     requesting the Court to please acknowledge Officer Gilliam individually
     contacted the EEOC under the same administration and period of time as the
     Atkinson Class Action lawsuit, and was targeted by the same Administration as
     the nine (9) other VA Police Officers.

  6. The Court has not acknowledged this fact documented in Mr. Gilliam's Third
     Amended Complaint, but seems to completely overlook it or responds arbitrarily
     with a perfunctory, "I disagree" with no analytical reason why. The argument the
     Plaintiff is making is in reference to RETALiATiON not discrimination, as
     the Court seems to think. Moreover, the Pattern, Practice and Culture of
     RETALIATION against any employee who contacted the EEOC is EViDENCE for
     the fact it was on going from 2010 through 2014. Point being, this illeoal corrupt
     retaliation was active durinc Officer Gilliam's Case when he contacted the EEOC
     on June 15. 2012: and is presented in his Third Amended Complaint, but was
     ignored. This is now a leoallv sufficient cause for the Courts action, because it is
     a clear violation of Mr. Gilliam's Civil Rights Act of 1964.

  7. An element to consider is MSA Liz Marsh did not contact the EEOC and only
     received a penalty of three days off without pay. However, for clarifications sake
     the Plaintiff understands Ms. Marsh is not considered bv this Court to be a valid
     comparator and the Plaintiff is not stating she is here. Notwithstanding she is
     bold and bright evidence for Mr. Gilliam receiving RETALIATION for
     contacting the EEOC.(If one onlv follows the traiectorvT And later fell prev to


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     the Bay Pines Administration's on going legally documented Pattern. Practice
     and Culture of RETALIATION of Any Employee Contacting the EEOC between
     the years of 2010 and 2014: as documented in the Atkinson v. U. S. Deo't of
     Veteran Affairs Case. This case also contains evidence to support this is the VA
     Administrations Modis Operandi for removing an employee once he crosses
     the "Rubicon" and contacts the EEOC against them. Any employee who does is
     met with reprisal exactly as Officer Gilliam was when he individually contacted
     the EEOC in Fort Myers Florida. Note: a comparator is needed when the Civil
     Rights Act violation is discrimination. A comparator is not needed when the
     Civil Rights Act violation is reprisal as is and has been argued by the Plaintiff.

  8. A revealing and figurative illustration to make a point of understanding is
     as follows: It is a documented fact that between the years of 2010 and 2014 any
     employee who contacted the EEOC at Bay Pines was "poisoned' by the
     administration afterwards (figuratively). On June 15, 2012 Officer Gilliam
     contacted the EEOC and was "poisoned' by the same administration. This
     stands to reason here. Several other employees at Bay Pines VA specifically in
     relation to this Case nine (9) other VA Police Officers contacted the EEOC and
     was "poisoned' by the same VA Administration after the fact, and is evidence.

  9. The Tampa Federal Court(Case 8:10-cv-01482-MSS-TBM) declared the same.
     In addition, the VA Administration admitted the same by paying out a $1 million
     dollar settlement or relief and cure to the nine officers who had been "poisoned"
     by this corrupt and retaliatory VA Administration. This case stretches all the way
     from 2010 through 2014 and is a legallv sufficient cause of action for
     reconsideration for the dismissal of this case with oreiudice. if onlv riahtiv
     understood bv the Court. The Atkinson v. U.S. Deo't of Veteran Affairs is
     evidence for Retaliation not Discrimination as this Court has misconstrued the
     Plaintiff presented in his Motion for the Record and Court Reconsideration and
     Third Amended Complaint (please see: ORDER Document 83 page 2, footnote:
     1 for the courts error and manifest injustice).

  10.However here and now, the Fort Myers Federal Court's Opinion and Order is that
     this same corrupt and guilty VA Administration in question did not"poison"VA
     Police Officer Gilliam the individual. So therefore, Mr. Gilliam will not receive any
     relief or cure from the VA Administrations retaliation. Even though there is, a fully
     documented account and class action civil suit on the record of the VA
     Administration "poisoning"nine VA Police Officers for contacting the EEOC. VA
     Police Officer Edward Lee Gilliam was also "poisoned"by the VA Administration
     for contacting the EEOC during this same time period. This fact stands to reason.

  11. Note: all of this same argument can be found in VA Police Officer Ed Gilliam's
     Third Amended Complaint if not exact, in implication and is ready to be
     presented at a jury trial.




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  12. Moreover, for this Court to state Chief Shogren's malicious ten (10) month
     concealment of incendiary allegations against Officer Ed Gilliam while contacting
     his supervisory staff to target him did not create a Retaliatory and Hostile Work
     Environment is unreasonable to the point of absurdity. This clearly Is a flagrant
     act of reprisal! In addition, if one choses to be arbitrary and not acknowledge
     this single fact well then couple it with even more preponderance of evidence by
     recognizing this Pattern, Practice and Culture of RETALIATION against any
     employee contacting the EEOC. Now to state this has no bearing on this Case at
     hand; is in comparison to stating a banana peel has no bearing on the substance
     of the banana in the center. One has to peel the banana to get to the substance.

  13.All of Mr. Gilliam's arguments and then some can be found in his Third Amended
     Complaint. For example a Pattern Practice and Culture of RETALIATION is
     located on page 16 paragraph fifty (50) of his Third Amended Complaint but was
     either glossed over, misconstrued or completely ignored by this court.

  14.The thing speaks for itself and the evidence is clear. The simple facts are as
     follows. The four allegations against Officer Gilliam are tainted: and appear
     to be pretextual. A settled class action lawsuit for a Pattern. Practice and
     Culture of Retaliation against any employee who contacts the EEOC Is
     already in the court record and that case more than corroborates Officer
     Gilliam's case against the Veteran Affairs, it confirms the preponderance of
     evidence. This settled class action lawsuit is irrefutable evidence and is legally
     sufficient for a cause of action by the Court to reconsider Mr. Gilliam's civil suit
     against the Veterans Affairs. To think otherwise is unreasonable and arbitrary
     and is a manifestation of injustice, there is a need to correct clear error here! The
     Court previously misinterpreted the evidence of the class action lawsuit to be for
     discrimination but it in fact bolsters the claim for reprisal as Mr. Gilliam rightfully
     intended it too in his Third Amended Complaint and is a legally sufficient cause of
     action for the Court to correct this clear error to prevent manifest injustice!

  15. The Plaintiff is reasonably requesting the Fort Myers Federal Court to simply
     agree with the Tampa Federal Court and the VA Administration. That a well
     established and court documented record of a Pattern, Practice and Culture of
     Retaliation against any employee contacting the EEOC did in fact exist at the
     Veteran Affairs and the VA Administration would retaliate against an employee
     for contacting the EEOC. This is established evidence and should not be
     overturned I In addition. Officer Edward Lee Gilliam along with the other nine (9)
     VA Police Officers involved in the class action lawsuit contacted the EEOC all
     within the same parentheses of time and therefore Officer Gilliam should
     rightfully be awarded relief and settlement as they were or at least a
     requested jury trial. Thank you very much for your reconsideration in this very
     important life altering decision. Respectfully submitted for Justice and Honor.


                                                               May 15, 2019

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                                       DOCKET #85




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                                   UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                       FORT MYERS DIVISION


         EDWARD LEE GILLIAM,

                     Plaintiff,

         V.                                    Case No:     2:16-cv-255-FtM-29UAM


         U.S.    DEPARTMENT   OF    VETERANS
        AFFAIRS,

                     Defendant.                         "                  '     '



                                               ORDER


                This matter comes before the Court on plaintiff s Motion for

        Need to Correct Clear Error or Prevent Manifest Injustice (Doc.

        #84) filed on May 15, 2019.            Plaintiff seeks reconsideration of

        the Court's Order (Doc. #83) denying plaintiff's previous motion

        for     reconsideration     (Doc. #82).       The   Court finds        no basis for

        reconsideration, as plaintiff simply re-argues the same points set

        forth in his previous motions for reconsideration (Docs. ##78, 82)

        and his response in opposition to defendant's motion to dismiss

        (Doc. #73).     Plaintiff's motion is therefore denied.

                Accordingly, it is hereby

                ORDERED:


                Plaintiff s Motion for Need to Correct Clear Error or Prevent


        Manifest Injustice (Doc. #84) is DENIED.




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              DONE and ORDERED at Fort Myers, Florida, this            13'^-''   day of

         June, 2019.




                                            jc|hA e. stesle
                                            S:^^ICR DNITSD STATES DISTRICT JUDGE

         Copies:
         Parties and Counsel of Record




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                                 CERTIFICATE OF SERVICE


I CERTIFY that on October 10,2019 I respectfully submitted two copies to the
United States Court of Appeals and one copy to Peter J. Sholl AUSA:



                          APPENDIX OF EDWARD LEE GILLIAM


By USPS Marketing Mail to the following addresses:

United States Court of Appeals
Eleventh Circuit
Office of the Clerk
56 Forsyth Street, N.W.
Atlanta, Georgia 30303




Peter J. Sholl, Assistant United States Attorney


Appellate Division
USA No. 082
400 N. Tampa St., Ste. 3200
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                                                          Edwar           am




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